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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF SOUTH CAROLINA
                           CHARLESTON DIVISION
THE SUSTAINABILITY INSTITUTE,
AGRARIAN TRUST, ALLIANCE FOR
AGRICULTURE, ALLIANCE FOR THE
SHENANDOAH VALLEY, BRONX RIVER
ALLIANCE, CLEANAIRE NC, CONSERVATION
INNOVATION FUND, EARTH ISLAND
INSTITUTE, LEADERSHIP COUNSEL FOR
JUSTICE AND ACCOUNTABILITY,
MARBLESEED, ORGANIC ASSOCIATION OF
KENTUCKY, PENNSYLVANIA ASSOCIATION
FOR SUSTAINABLE AGRICULTURE AND
RURAL ADVANCEMENT FOUNDATION
INTERNATIONAL-USA,
and
MAYOR AND CITY COUNCIL OF BALTIMORE,
CITY OF COLUMBUS, CITY OF MADISON,
METROPOLITAN GOVERNMENT OF
NASHVILLE AND DAVIDSON COUNTY,                 Case No. 2:25-cv-02152-RMG
CITY OF NEW HAVEN, CITY OF SAN DIEGO

                         Plaintiffs,
v.
DONALD J. TRUMP, in his official capacity
as President of the United States;                    FIRST AMENDED COMPLAINT
KEVIN HASSETT, in his official capacity as            FOR DECLARATORY
Assistant to the President for Economic Policy        AND INJUNCTIVE RELIEF
and Director of the National Economic Council;
UNITED STATES OFFICE OF MANAGEMENT
AND BUDGET; RUSSELL VOUGHT, in his
official capacity as Director of the United States
Office of Management and Budget; UNITED
STATES ENVIRONMENTAL PROTECTION
AGENCY; LEE ZELDIN, in his official capacity
as Administrator of the United States Environmental
Protection Agency; UNITED STATES DEPARTMENT
OF AGRICULTURE; BROOKE ROLLINS, in her
official capacity as Secretary of Agriculture; UNITED
STATES DEPARTMENT OF TRANSPORTATION;
SEAN DUFFY, in his official capacity as the Secretary
of the United States Department of Transportation;
UNITED STATES DEPARTMENT OF ENERGY;
CHRIS WRIGHT, in his official capacity as the
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Secretary of the United States Department of Energy;
UNITED STATES DEPARTMENT OF
GOVERNMENTAL EFFICIENCY SERVICE;
AMY GLEASON, in her official capacity as
Acting Administrator of the United States DOGE
Service; ELON MUSK, in his official capacity as
Senior Advisor of the United States DOGE Service.

                               Defendants.

                                        INTRODUCTION

     1. This action seeks to ensure that programs and funding that Congress has lawfully enacted

to improve lives, strengthen communities, and protect the environment throughout the nation

reach their intended recipients and fulfill their intended purposes without unlawful interference

by the executive branch of the federal government. Plaintiffs are nonprofit organizations and

municipalities that have been awarded federal grant funds, either as direct recipients or as sub-

grantees, to carry out specific programs enacted by Congress under the Inflation Reduction Act

(“IRA”) and Infrastructure Investment and Jobs Act (“IIJA), and other federal statutes.

     2. Beginning the day he took office, the President issued multiple executive orders carrying

out his intention to unlawfully defy Congressional mandates by freezing, disrupting, and

terminating funds that Congress had directed and appropriated to specific grant programs to

benefit the environment and support communities.

     3. One order, Unleashing American Energy, directed federal agencies to “Terminat[e],” by

which the President meant to “immediately” stop, the disbursement of all funds—totaling over

$1 trillion—appropriated by Congress under the IRA and IIJA. Exec. Order No. 14154, 90 Fed.

Reg. 8353, 8357 (Jan. 20, 2025) (“Energy EO”) (emphasis added). The Energy EO prohibits

agencies from disbursing any funds under the two statutes that are not “consistent” with a list of

Presidential “polic[ies],” as determined by the President’s political appointees. Energy EO §§ 2,

7.

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   4. Another, titled Ending Radical and Wasteful Government DEI Programs and Preferencing,

mandates the termination of all ‘equity-related’ grants or contracts within 60 days. Exec. Order

No. 14151, 90 Fed. Reg. 8339, 8339 (Jan. 20, 2025) (“Equity EO”) (emphasis added).

   5. A third, Implementing the President’s “Department of Government Efficiency” Cost

Efficiency Initiative, orders agencies to “terminate or modify” contracts and grants to “advance

the policies of [the Trump] Administration.” Exec. Order 14222, 90 Fed. Reg. 11095, 11096

(Feb. 26, 2025) (“DOGE EO”) (together with the Energy EO and the Equity EO, the “Executive

Orders”).

   6. These Executive Orders cite no legal authority for the President or his agencies to

unilaterally freeze, let alone terminate, congressionally appropriated funds. Nor do the Orders

cite authority which would allow the executive branch to condition the spending of

congressionally appropriated funds on compliance with the President’s policies and

preferences—as distinct from Congress’s. Because there is none. Defendants’ freezes are not

only wholly unsupported by law, but in fact directly contradict duly enacted statutes.

   7. In the weeks since the Executive Orders, senior officials from federal agencies including

the Office of Management and Budget (“OMB”), Environmental Protection Agency (“EPA”),

Department of Agriculture (“USDA”), the Department of Transportation (“DOT”), the

Department of Energy (“DOE”) and Department of Government Efficiency (“DOGE”), have

enforced these unconstitutional Executive Orders and taken other actions to interfere with the

disbursement of congressionally mandated and awarded federal grants.

   8. The officials have directed agency staff to freeze IRA and IIJA funding, Ex. A (“First

OMB Memo”), Ex. B (“Second OMB Memo”), Ex. C (“USDA Directive”), including funds

“obligat[ed]” to specific recipients, and Ex. D (“EPA Memo”). They have required agency staff



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to certify that funding disbursements comply with the Executive Orders prior to releasing funds

to recipients, Ex. E (“EPA Executive Order Compliance Review Requirement”). They have

directed staff to identify projects for potential removal, Ex. F (“DOT Memo”), and they have

prohibited disbursements of funds over $50,000 without new approvals from DOGE. Ex. G

(“EPA Notice of DOGE Approval Requirement”).

   9. EPA, USDA, DOT and DOE staff have taken various actions that prevent Plaintiffs from

accessing grant funds to proceed with the congressionally mandated programs entrusted to them.

For example, EPA, USDA, DOT and DOE have blocked Plaintiffs’ access to the websites and

portals needed to access funds, frozen or labeled as “suspended” the accounts containing the

grant funds preventing Plaintiffs from drawing down funds, informed Plaintiffs orally that funds

are frozen and cannot be drawn down, communicated through state agencies that expenditures

may not be reimbursed, and otherwise prevented Plaintiffs from accessing grant funds, usually

with no explanation or justification. These actions by EPA, USDA, DOT and DOE together with

those described in Paragraph 8 above, are collectively referred to in this complaint as the

“Program Freezing Actions.”

   10. In addition, EPA, USDA, DOT and DOE grant officers have become unavailable, and in

many cases have failed to provide grantees with clear answers about the status of their grants or

any explanation as to why they have been frozen.

   11. Two federal courts have already issued temporary restraining orders and preliminary

injunctions against aspects of the Administration’s funding freezes, finding that they lack

constitutional, statutory, and/or regulatory authority.

   12. Despite these judicial orders, grants continue to be repeatedly frozen, unfrozen, and then

frozen again with no notice or justification. This inflicts significant harm on Plaintiffs,



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preventing them from executing critical projects, carrying out their missions, planning for the

future, paying their employees, contractors, or sub-awardees, and serving the communities where

they are implementing these congressional priorities.

   13. The Administration’s unlawful and arbitrary freeze of congressionally mandated

programs and funding appropriated and awarded to carry out those programs violates multiple

statutory provisions, as well as fundamental constitutional and administrative safeguards. In this

nation, Congress enacts laws, and the Executive Branch, whoever may be occupying it at any

given time, must faithfully execute those laws. The Administration has simply refused to do so

with respect to the programs at issue in this case and instead has seized control of federal

spending to further its own aims, in the process undoing the spending decisions made by

Congress.

   14. For the reasons set forth herein, Plaintiffs respectfully request that the Court grant

appropriate relief to remedy Plaintiffs’ injuries and to enforce the Constitution and the

Administrative Procedure Act (“APA”).

                                 JURISDICTION AND VENUE

   15. Plaintiffs bring this action under the U.S. Constitution and the APA, 5 U.S.C. §§ 702,

704. This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 and may issue

declaratory and injunctive relief under 28 U.S.C. §§ 2201(a) and 2202, as well as vacatur under 5

U.S.C. § 706.

   16. Venue is proper in this District pursuant to 28 U.S.C. § 1391(e)(1)(C) because

Defendants are “officer[s],” “employee[s],” and “agenc[ies]” of the United States, and because

Plaintiff The Sustainability Institute is headquartered in North Charleston and resides in South

Carolina. Venue is proper in the Charleston Division because “a substantial part of the events or



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  omissions giving rise to the claim occurred” in this Division, Local Civ. Rule 3.01(A)(1)––for

  example, The Sustainability Institute’s project to build and weatherize affordable homes in North

  Charleston is funded by a congressionally authorized Community Change Grant, which is

  subject to the funding freeze challenged in this case.

                                                 PARTIES

I.      Plaintiffs

        17. Plaintiffs are thirteen Community Groups: the Sustainability Institute; Agrarian Trust;

     Alliance for Agriculture; Alliance for the Shenandoah Valley; Bronx River Alliance; CleanAIRE

     NC; Conservation Innovation Fund; Earth Island Institute; Marbleseed; Organic Association of

     Kentucky; Leadership Counsel for Justice and Accountability; Pennsylvania Association for

     Sustainable Agriculture; and Rural Advancement Foundation International-USA; and six cities:

  Baltimore, Maryland; Columbus, Ohio; Madison, Wisconsin; Nashville, Tennessee; New Haven,

     Connecticut; and San Diego, California.

                                             Community Groups

        18. Plaintiff the Sustainability Institute is a 501(c)(3) nonprofit organization headquartered in

  North Charleston, South Carolina. Established in 1999, the Sustainability Institute’s mission is to

  advance sustainable and resilient communities while building the next generation of conservation

  leaders. The Sustainability Institute applied for and was awarded a 3-year, $11.3 million

     “Community Change Grant” from EPA in 2024. This grant was authorized by Congress as part of

     the IRA.

        19. The Sustainability Institute intends to use this grant to carry out specific projects

     approved by EPA to advance Congress’s objectives for the grant program. Under terms of the

     grant, the Sustainability Institute will work with the City of North Charleston to develop energy-



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efficient affordable homes for disadvantaged people in the Union Heights neighborhood; reduce

greenhouse gas emissions by weatherizing and retrofitting homes; and restore a historically black

community fragmented by the construction of Highway 26, among other projects.

   20. On January 29, 2025, the Sustainability Institute’s Community Change Grant was first

suspended. Later, on February 7, the organization was able to make a successful draw down of

funds using the online portal grantees use to access funds. On February 10, the funds were frozen

again. On February 19, funds were unfrozen again, only to be frozen again on March 9. Grant

funds have remained frozen since March 9. Multiple inquiries by Sustainability Institute to its

EPA grant officer have gone unanswered, and Sustainability Institute was notified by its former

grant officer that she received a directive not to communicate with grantees.

   21. The funding pause is causing widespread disruption to the Sustainability Institute’s

internal operations and its ability to implement programs that align with its mission. Most

pressing, the freeze in funding is preventing the Sustainability Institute from working on the

Union Heights redevelopment project because it requires significant investments in new

equipment and hiring contractors. Without certainty that federal funding will be available to

reimburse these major expenditures, the Sustainability Institute is unable to advance the project.

The Sustainability Institute has also had to shift significant resources towards managing how to

address the loss of funding and spend time and resources discussing how to manage projects in

absence of support from the federal government. The Sustainability Institute is also concerned

about harm to the reputation it has built up after almost two decades working in the Charleston

community if it fails to deliver on this committed project.

   22. Plaintiff Agrarian Trust is a 501(c)(3) nonprofit organization incorporated in California

and based in Oregon which focuses on securing land for sustainable farming and fostering a



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more just and equitable food system. The organization works to protect farmland from

development and ensure that it remains accessible to farmers, particularly those from

marginalized communities. Agrarian Trust promotes land access and stewardship through

community-driven solutions, offering tools and resources to help transition agricultural land into

the hands of farmers committed to sustainable and equitable practices in 15 states. In 2024,

Agrarian Trust was awarded a five-year, IRA-funded Increasing Land, Capital and Market

Access grant (“Increasing Land Access Grant”) by USDA totaling $12,966,593.00 to fund

farmland acquisitions in Nebraska, Texas, and New York, as well as farmer-led initiatives and

partnerships with community-based organizations in West Virginia, Virginia, Washington, Maine,

and Montana.

   23. Agrarian Trust has not been reimbursed for its work since the funding freeze began in

January 2025. As a result, the organization has not been able to proceed with its land acquisition

work for four farms and has been forced to start depleting its savings to sustain operations and

programs. Agrarian Trust has been forced to put contracts on hold, alter workplans and consider

reducing hours, furloughs, or staff layoffs, including for four staff hired as part of this grant. The

funding freeze has caused distress to the organization’s staff, as well as farmers and community

partners across 15 states.

   24. Plaintiff Alliance for Agriculture is a 501(c)(3) nonprofit organization based in Orocovis,

Puerto Rico. Alliance for Agriculture’s mission is to transform the way agriculture is done in

Puerto Rico. The organization achieves this mission by amplifying the local agricultural sector

and supporting small farmers and processors, farmers markets and community organizations,

working with distribution channels to bring organic products to a wider market, and raising

awareness about local food consumption.



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   25. Alliance for Agriculture is the subawardee under a cooperative agreement between

Plaintiff Rural Advancement Foundation International-USA (“RAFI-USA”) and USDA Natural

Resources Conservation Service Outreach and Advocacy Division through the Increasing Land

Access Grant program. This subaward agreement obligated $1,538,200 to Alliance for

Agriculture. The purpose of this project is for Alliance for Agriculture to work with RAFI-USA

to achieve the goal of improving farmland access and security by addressing core barriers to

attaining land while also working to retain farmland by mitigating and preventing land

loss. Alliance for Agriculture is also the subawardee under a separate Conservation Technical

Assistance cooperative agreement between RAFI-USA and USDA Natural Resources

Conservation Service Outreach and Advocacy Division that obligated $129,316 to Alliance for

Agriculture. The purpose of this project is for the Alliance for Agriculture to provide localized

outreach, education, and hands-on technical assistance regarding Natural Resources

Conservation Service programs. The primary focus is on assisting small-scale, farmers that are

Black, Indigenous, or People of Color through the Natural Resources Conservation Service

application process and conservation action plan preparation.

   26. Alliance for Agriculture has not been able to access its federal grant funds since January

28, 2025. The funding freeze has had a severe impact on the Alliance as well as farmers and

agricultural communities in Puerto Rico. Farmers expect to be able to receive this crucial

support, including technical assistance, land access guidance, and financial resources, but are

now left in limbo. Training programs, infrastructure investments, and local food system funding

has been stalled. The interruption to funding from these awards and uncertainty about when

funding will resume has negatively impacted the Alliance’s ability to operate. Rather than

focusing on its core mission of supporting farmworkers and agricultural communities in Puerto



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Rico, the Alliance has been forced to divert attention to navigating the federal funding freeze. If

the federal funding freeze continues, the organization will have to lay personnel off. A continued

freeze will also undoubtedly damage Alliance for Agriculture’s reputation. Farmers and partners

trust the Alliance to deliver on promises, and stalled commitments risk eroding that trust.

   27. Plaintiff Alliance for the Shenandoah Valley is a 501(c)(3) nonprofit organization that is

headquartered in New Market, Virginia. Alliance for the Shenandoah Valley works to ensure the

Valley’s rural character, scenic beauty, clean water and vibrant communities are protected by

providing accurate and timely information to community members and decision makers. It

achieves this, in part, by informing and engaging people to protect the natural resources, cultural

heritages, and rural character of its region. Alliance for the Shenandoah Valley is the recipient of

several USDA grants that have been disrupted by the federal funding freeze.

   28. Alliance for the Shenandoah Valley was awarded a subgrant from the National Fish and

Wildlife Foundation for $1,531,595.72 on January 14, 2025 under the Innovative Nutrient and

Sediment Reduction Grants Program. The Innovative Nutrient and Sediment Reduction Grants

Program is a partnership between the National Fish and Wildlife Foundation, the Environmental

Protection Agency, and the federal-state Chesapeake Bay Program partnership. The purpose of

this subaward is to accelerate the rate of implementation and increase the effectiveness of water

quality best management practices in a high priority agricultural region of the Chesapeake Bay

watershed. Alliance for the Shenandoah Valley was also awarded a subgrant from the

Conservation Innovation Fund for $400,000 in October 2023, under the Partnerships for Climate-

Smart Commodities Program. Under the subaward, the Alliance engages farmers in

implementing climate-smart agriculture and forestry practices.




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   29. Alliance for the Shenandoah Valley has not been able to access federal funds for either

federal grant since February 12, 2025. This pause has harmed the Alliance for the Shenandoah

Valley’s programs and the organization itself. The organization’s relationship with farmers and

landowners, which took years to build, are eroded by this disruption to Alliance’s ability to

provide support and assistance. In reliance on the availability of the Partnerships program,

farmers that the organization works with to join the partnership program have made investments

to adopt sustainable practices expecting to be reimbursed, but now that funding is unavailable to

them.

   30. Plaintiff Bronx River Alliance is a 501(c)(3) nonprofit organization based in New York

City which serves as a coordinated voice for the Bronx River and works with over 100 partners

including the New York City Department of Parks and Recreation to protect and restore the

Bronx River corridor and greenway so that it can be a healthy ecological, recreational,

educational and economic resource for the communities through which the river flows. Bronx

River Alliance was awarded a nearly $1 million EPA Community Change grant to enable

communities in the Bronx to have a voice in decisions related to coastal adaptation, habitat

restoration and infrastructure projects. The organization was also awarded a $500,000

Environmental Justice Collaborative Problem Solving Program grant (“Environmental Justice

Problem Solving Grant”) to improve water quality in four Bronx and Westchester County

waterways by partnering with local communities to collect and use water quality data in

advocating for policy and infrastructure improvements that address longstanding sources of

water pollution.

   31. Bronx River Alliance has not been able to reliably access funds under both EPA grants

since around January 29, 2025. The grants were accessible for a few days in early February but



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were both suspended again on February 12. The grants were last suspended on March 10. This

disruption in funding has forced the organization to cover costs for water quality monitoring

supplies, equipment and partner and subaward obligations. The funding freeze has also made it

difficult to pay staff to coordinate volunteers for water sample collection, resulting in reduced

data collection. The reduction in data will impede municipalities, advocates, and elected officials

from securing funding to upgrade aging sewage infrastructure, which directly harms public

health and water quality. This will also result in increased health risks from recreational water

activities, including paddling, fishing, and swimming in the river. The organization has not been

able to proceed with hiring projected staff, causing existing staff members to continue working

without pay. The freeze is affecting the organization’s ability to cover at least three staff

positions. The organization’s Community Change subawards are directly tied to community

engagement, with each partner committed to engaging 100 community members––work that has

also been stalled. The nonprofit’s inability to access the grant funds means that community

members are prevented from having a voice in infrastructure and development projects to

address flooding and heat impacts on vulnerable populations, including children, the elderly, and

individuals with chronic illnesses. The inability to follow through on multi-year organizational

commitments is also jeopardizing relationships years in the making with community partners,

government agencies, and elected officials.

   32. Plaintiff CleanAIRE NC is a 501(c)(3) nonprofit organization headquartered in Charlotte,

North Carolina. CleanAIRE NC works to protect the health of all North Carolinians by pursuing

equitable and collaborative strategies to address air pollution and fight climate change.

CleanAIRE was awarded a $500,000 Environmental Justice Problem Solving Grant on June 2,

2024. With this grant, CleanAIRE NC will engage in air monitoring in four impacted



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communities across north Mecklenburg County to address health impacts associated with air

pollution. CleanAIRE NC will also work with partners to train Community Health Workers as

lead AirKeepers and conduct a Health Impact Assessment with Lake Norman Community Health

Clinic, Mecklenburg County Health Department, Atrium Health, and North Carolina State

University.

   33. However, as of January 29, 2025, CleanAIRE NC has been unable to make drawdown

requests for funding under its Environmental Justice Problem Solving Grant. If funds remain

frozen, CleanAIRE NC may be forced to let go of key staff and stop important community air

monitoring programs. Currently staff are being forced to shift away from programmatic priorities

to manage the fallout from the funding freeze.

   34. Plaintiff Conservation Innovation Fund is a 501(c)(3) nonprofit organization incorporated

in Wyoming and headquartered in Washington, D.C. Across the country, Conservation

Innovation Fund creates water, carbon, and biodiversity “environmental assets” to address the

regulatory and voluntary needs of its municipal and corporate partners while supporting the sale

of sustainably produced commodities. Conservation Innovation Fund is the recipient of a USDA

Partnerships for Climate-Smart Commodities grant and award of $24,999,954 over five years.

Conservation Innovation Fund was awarded this grant on June 8, 2023.

   35. The purposes of this grant are to develop a private-sector mechanism within the U.S.

economy for commodities such as milk, beef, and grain that are cultivated with sustainable

practices; to create incremental markets for environmental assets tied to sustainable practices;

and to invest in America’s rural and agricultural communities. Conservation Innovation Fund

works with farms to integrate agricultural best management practices such as cover crops, zero

tillage production, nutrient management and manure management into dairy, beef and grain



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supply chains, with greenhouse gas reductions and water quality benefits that can be purchased

by supply chain partners and other stakeholders. Farmers in Virginia, Maryland, Pennsylvania,

Delaware, and West Virginia, as well as Maryland & Virginia Milk Producers Cooperative

Association members in Ohio, North Carolina, South Carolina, Tennessee, New Jersey and New

York, are eligible for assistance through the grant. The grant agreement and award are the

culmination of over 10 years of planning and preparation and coordination with USDA.

   36. The reimbursement requests that Conservation Innovation Fund has submitted since

January 20, 2025 have not been paid out. The disruption in funding has significantly delayed

program implementation. Conservation Innovation Fund provides funding directly to farmers for

implementation of best management practices. 29 farms await payment of $1,937,735.50, related

to implementation of best management practices, which must be implemented in the springtime

for the best outcomes. Farms have been forced to delay necessary purchases for equipment, seed

and services related to the implementation of best management practices. Conservation

Innovation Fund has been forced to reduce staff, shutter business development opportunities, and

seek alternative funding sources. The pause also harms Conservation Innovation Fund’s

reputation with farmers, customers and funders. Farmers had begun to reach out directly to

Conservation Innovation Fund and its partners, and to build momentum among their rural

communities behind the economic opportunity presented by the program, which targets hundreds

of small farmers. Now all inbound calls have stopped. The pause in USDA funding also has

caused efforts to expand capital for market-based conservation programs to come to a standstill,

creating uncertainty and chaos for an entire emerging sector of the agricultural economy.

   37. Plaintiff Earth Island Institute is a 501(c)(3) nonprofit environmental corporation founded

in 1982 and headquartered in Berkeley, California. It serves as an incubator for grassroots



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environmental projects, offering fiscal sponsorship and support to over 75 initiatives worldwide

focused on conservation, climate action, wildlife protection, sustainable food systems,

Indigenous rights, and environmental justice. The organization also engages in legal advocacy

through Earth Island Advocates, fosters youth leadership through the Brower Youth Awards, and

publishes the award-winning Earth Island Journal. Through these efforts, Earth Island Institute

empowers communities to develop and implement innovative solutions to pressing

environmental challenges.

   38. In December 2024, EPA Region 9 awarded the nonprofit a Community Change Grant

totaling $3,073,914 million for a project integrating traditional knowledge with modern

technology to promote intergenerational learning and collaborative problem-solving within the

Wai'anae community in Hawaii. Key components include establishing an environmental advisory

team, engaging community members in environmental and health data collection, developing an

intergenerational learning fellowship to share traditional knowledge and skills, and conducting a

community health assessment to understand the impacts of water and air contaminants on

residents. Earth Island spent 110 hours of staff time to develop this Community Change Grant

project. Earth Island also serves as a statutory partner to the West Anniston Foundation, which on

August 2024 was awarded a $2,596,592 Environmental and Climate Justice Block grant by EPA

Region 4 for their project to empower young adults in West Anniston by providing training

programs that enhance community engagement with governmental processes and address local

health and environmental issues in this predominantly Black, low-income community in

Anniston, Alabama. Earth Island put about 380 hours of staff time to develop this winning

project, which was expected to start on March 1, 2025. Earth Island has received no notification

or justification from EPA that its funding was suspended. Earth Island has also been unable to



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obtain any clarity around the status of its two grant funds. The funding freeze has caused the

organization to spend many hours tracking the status of the grants and divert staff from their

other work responsibilities. The funding freeze also harms the nonprofit’s reputation as it has to

freeze and perhaps end funding to its partners in Hawaii and Alabama.

   39. Plaintiff Leadership Counsel for Justice and Accountability is a 501(c)(3) nonprofit

organization based in Fresno, California. Leadership Counsel’s mission is to work alongside the

most impacted California communities to advocate for sound policy and eradicate injustice to

secure equal access to opportunity regardless of wealth, race, income, and place. Leadership

Counsel was awarded a Community Change Grant of over $3 million from EPA in 2024. With

this funding, Leadership Counsel is carrying out an EPA-approved project to connect

disadvantaged communities in California’s San Joaquin Valley to public decision-making venues

and better equip these communities to advocate for their interests on climate change issues.

   40. Since early February, Leadership Counsel has not been able to reliably request

reimbursements through the federal government’s online portal for withdrawing grant funds

called Automated Standard Application for Payments (“ASAP”). Leadership Counsel’s inability

to access funds, and the uncertainty about when these funds will become reliably available, has

forced the organization to adjust its workplans and engagements with community members.

Leadership Counsel and one subawardee have been forced to pay for staff time and other

expenses for work done on this program themselves while this funding has been paused.

   41. Plaintiff Marbleseed is a 501(c)(3) nonprofit organization headquartered in Spring Valley,

Wisconsin. Established in 1995, Marbleseed is committed to supporting farmers in their

transition toward sustainable, organic farming systems that are ecologically sound, economically

viable, and socially just. Marbleseed works with small farms to support peer-to-peer learning



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with free and farmer-led programs, print and digital resources, and in-person events that support

thriving regenerative and organic farms and food systems.

   42. Marbleseed received a $4,517,254.65 award under USDA’s Partnerships for Climate-

Smart Commodities. Under this program, Marbleseed will provide rural and agricultural

communities with the tools needed to build operational and environmental resiliency by

implementing climate-smart production practices that reduce greenhouse gas emissions and

sequester carbon. Marbleseed was also awarded a $300,000 Organic Technical Staffing

Assistance grant under USDA’s Conservation Stewardship Program to improve conservation

performance by installing and adopting additional activities and improving, maintaining, and

managing existing activities on agricultural land and nonindustrial private forest land.

Marbleseed’s work will expand conservation planning assistance to organic agricultural

producers and accelerate conservation practice implementation for farmers in their network. This

grant has been frozen since January 31, 2025, and Marbleseed has not received reimbursement

for its work.

   43. Marbleseed’s Climate-Smart grant has been frozen since March 7, 2025, causing

significant harm to the farmers Marbleseed supports. The funding uncertainty has disrupted the

trusting, supportive network Marbleseed has worked to build. Marbleseed is hesitant to take next

steps in agreements with partners because the organization does not want to make promises they

cannot deliver on. Marbleseed’s programmatic work has slowed. The organization has imposed a

hiring freeze, closed an open full-time staff position, reduced employee working hours as an

alternative to layoffs, and redirected staff time to other program areas. During this time of the

year, the Marbleseed team typically plans field days comprised of on-the-farm trainings and




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education events but has been unable to provide this opportunity to partners and communities

due to the freeze. All of this has taken a significant toll on employees.

   44. Plaintiff Organic Association of Kentucky, (“OAK”), is a 501(c)(3) nonprofit

organization based in Lexington, Kentucky. Incorporated since 2015, OAK serves to improve the

health of the environment and communities by advancing organic regenerative agriculture to

grow ecological resilience, economic viability, and socially just futures for Kentucky farmers

through educational, technical, and market resources. On September 18, 2023, OAK was

awarded $4,407,706.00 as part of the Climate-Smart Commodities Grant (“Climate-Smart”)

under the USDA’s Natural Resources Conservation Service (“NRCS”) to expand markets for

climate-smart grass-fed lamb, grass-fed beef, corn, soybeans, small grains, produce, dairy,

agroforestry and hemp in Kentucky. In 2025, USDA increased the award amount to

$4,739,827.15. Using incentives and technical assistance, the five-year project helps up to 110

farmers per year adopt cover crops, reduce tillage, diversify crop rotations, reduce nitrogen

inputs, implement holistic grazing, agroforestry and other conservation practices to improve soil

health and water quality, reduce greenhouse gas emissions and promote wildlife habitat,

connecting climate-smart commodity production with climate adaptation and greenhouse gas

benefits. OAK has been unable to access its funding under this grant since January 20, 2025. On

February 1, 2024, OAK was awarded $261,296 as part of the Equity in Conservation Outreach

Cooperative Agreement (“Equity in Conservation”) under NRCS to deliver outreach and

education programming to increase awareness of and participation in NRCS programs, services,

and leadership opportunities in agriculture and natural resource conservation in Kentucky, with a

focus on reaching underserved farmers, ranchers or landowners. This grant is also currently




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frozen. OAK has not received information from USDA confirming details about the status of

these frozen grants.

   45. The funding freeze has disrupted OAK’s ability to operate its critical programs and has

caused the nonprofit to plan layoffs, dip into its limited emergency reserves and reduce its

services to farmers, who can no longer access the expertise, resources, and assistance they have

come to rely on. OAK’s inability to honor financial commitments to farmers erodes OAK’s

credibility built over years of service. As a small nonprofit, OAK relies on a small team of highly

skilled staff who have cultivated deep relationships with farmers and partners. Without access to

federal funding, these positions are at risk of being eliminated, resulting in the loss of vital

expertise that has been built over years of effort including hiring, training, one-on-one

relationships with farmers and deep knowledge of their farming operations. This loss of human

capital would be expensive and difficult to replace and would severely impact the organization's

capacity to continue operating effectively in the future.

   46. In addition to the operational impacts, OAK’s staff has spent an increasing amount of

time navigating the uncertainty caused by the funding freeze and stewarding the development of

alternate scenarios. This has diverted valuable time and resources away from their core

responsibilities of supporting farmers and advancing conservation programs, further exacerbating

the organization's strain and delaying future fundraising activities.

   47. Plaintiff the Pennsylvania Association for Sustainable Agriculture, d/b/a Pasa Sustainable

Agriculture (“Pasa”), is a 501(c)(3) nonprofit organization based in Harrisburg, Pennsylvania.

Pasa’s mission is to support farmers in creating economically viable, environmentally sound, and

community-focused farms and food systems. In 2023, Pasa applied for and was awarded a five-

year USDA grant of over $55 million through the IRA-funded Partnerships for Climate-Smart



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Commodities program. In 2024, USDA increased the award amount to just over $59.5 million.

With this funding, Pasa plans to implement a USDA-approved project to support over 2,000

small to mid-scale underserved farmers from Maine to South Carolina to implement

scientifically validated conservation practices that increase efficiency and productivity and

reduce and sequester greenhouse gasses. Funding under that grant is currently paused.

   48. Pasa also has a USDA Environmental Quality Incentives Program $74,993 grant, which

provides technical and financial assistance to agriculture producers to address numerous natural

resource concerns. Pasa is evaluating, refining and demonstrating that the practice of silvopasture

— an agroforestry practice that integrates trees and grazing livestock operations on the same land

— helps to improve grazing success and has associated economic, environmental a, and social

co-benefits in Pennsylvania,

   49. Pasa has a $32,380,331.30 USDA Agricultural Marketing Service Farm and Food Worker

Relief grant to provide financial relief to frontline farmworkers and meatpacking workers with

expenses related to the COVID-19 pandemic. Pasa was advised it could only submit expenses

incurred before January 20, 2025, with no guidance from USDA about subsequent expenses

covering payments for farmers and food workers. Pasa also has a $1,496,963 award from

USDA’s Farm Service Agency for an Urban Agriculture and Innovative Production grant to

support urban agriculture efforts in Philadelphia. After submitting an invoice on March 7, 2025,

Pasa was instructed to revise its January invoice to only include expenses before January 19,

2025, and has received no guidance for expenses incurred after January 20, 2025.

   50. Pasa faces several financial challenges as a result of the funding pause. First, Pasa will

potentially have to pay a large sum of unemployment claims for potentially 60 employees.

Second, Pasa has been forced to use rainy day funds to reimburse farmers and contractors for



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completed work, as well as cover employee payroll for the month of March. Finally, Pasa has

been unable to secure alternative funding because banks are hesitant to loan money to non-profits

when there are no assurances that government contracts will be honored. The disruptions to

Pasa’s operations frustrate the organization’s mission and its ability to serve frontline

farmworkers.

   51. RAFI-USA is a nonprofit organization dedicated to supporting family farmers, rural

communities, and food systems across the country. Based in North Carolina, RAFI-USA works

to advance sustainable agriculture and economic justice to promote equity and resilience in rural

areas. RAFI-USA provides direct support to underserved farmers, particularly those who are

Black, Indigenous, and People of Color, small-scale, or facing systemic barriers, through grant

programs, technical assistance, and advocacy efforts. RAFI-USA is the recipient of several

USDA grants that have been disrupted by the federal funding freeze.

   52. RAFI-USA was awarded a cooperative agreement with USDA through the Increasing

Land Access Program for $8,499,695 in May 2024. This grant funds the Gaining New Ground

project, which improves land access and land security for underserved farmers of color in North

Carolina, Florida, the U.S. Virgin Islands, and Puerto Rico. RAFI-USA was also awarded a

cooperative agreement with the USDA Farm Service Agency through the Distressed Borrower

Assistance Network Program for $2,389,182.72 in August 2024 to address the critical need for

farm advocates and technical assistance providers by developing training and peer support

resources and establishing a Distressed Borrower Assistance Network. RAFI-USA also has an

American Rescue Plan Technical Assistance Investment Program grant from the USDA National

Institute of Food and Agriculture for $425,000. Under the grant, RAFI-USA will work to




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increase familiarity with, and access to, USDA Farm Service Agency loan programs among

farmers who are young and Black, Indigenous, and People of Color.

   53. RAFI-USA was awarded a cooperative agreement with the USDA Natural Resources

Conservation Service through the Partnerships for Climate-Smart Commodities Program for

$2,073,301 in September 2023. The purpose of this project is to reduce barriers for small and

underserved farmers to implement climate-smart agriculture and forestry practices. RAFI-USA

was also awarded a Rural Development Policy Cooperative Agreement with the USDA Farm

Service Agency Outreach Office for $1,548,896.68 in September 2023 to help ensure that all

farmers have equitable access to services. This cooperative agreement was updated in June 2024

to increase the award amount to $1,707,039.82. Another cooperative agreement through the

Equity in Conservation Outreach Cooperative Agreement program for $696,664 is intended to

help expand delivery of conservation services to historically underserved producers.

   54. RAFI-USA has not received reimbursement of federal funds for requests submitted since

January 20, 2025 aside from a reimbursement through its Equity in Conservation Outreach

Cooperative Agreement. RAFI-USA received a reimbursement for the Equity in Conservation

Outreach Cooperative Agreement program on March 17, 2025 after waiting on reimbursement

requests to be paid out since January. RAFI-USA’s mission is being undercut because farmers

and rural communities are being directly harmed due to their inability to access promised funds

and RAFI-USA has been prevented from continuing to provide critical support and assistance to

these communities. The pause has also harmed RAFI-USA financially. The organization has been

forced to pause hiring for two positions and has taken out a line of credit to cover costs in the

absence of federal reimbursements.




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                                               Cities

     55. Plaintiff the Mayor and City Council of Baltimore (“Baltimore”) 1 is a municipal

corporation, organized pursuant to Articles XI and XI-A of the Maryland Constitution, entrusted

with all the powers of local self-government and home rule afforded by those articles. Baltimore

is the largest city in Maryland and the 30th largest city in the United States. Over the past few

years, Baltimore has been awarded more than 20 federal grants through grant programs funded

by the IRA and IIJA. These grants include a $4 million grant under the EPA’s Solid Waste

Infrastructure for Recycling (“SWIFR”) grant program to help develop a solar-powered

composting facility; two EPA Environmental Justice Government-to-Government (“EJG2G”)

awards, totaling over $500,000, for its YH2O+ Career Training Program (“YH2O+”), which

prepares young adults for jobs in the water and solid waste industries; and a $10 million award

through the IRA’s Assistance for the Adoption of the Latest and Zero Building Energy Codes

grant program (the “Energy Codes grant”).

     56. The SWIFR Grant-funded composting facility is expected to benefit Baltimore in several

ways. It will have the capacity to compost approximately 12,000 tons of organic materials per

year, diverting those materials from landfills and incinerators and reducing greenhouse gas

emissions by 6,000 tons. It will also encourage renewable energy and reduce long-term energy

costs, reduce the city’s dependence on waste incineration, create four or five permanent full-time

green energy jobs for local residents, provide Baltimore residents access to organics recycling,




1
  Because Baltimore is a party to ongoing litigation relating to the Equity EO, Baltimore joins the
claims asserted in this complaint only as to the Energy EO, Cost Efficiency EO, and agency
actions to implement the Energy EO and Cost Efficiency EO. Baltimore does not join the
asserted claims as to the Equity EO and agency actions to implement the Equity EO.


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benefit local food production, and further Baltimore’s goal to prioritize composting as part of its

solid waste management plan.

   57. On January 31, 2025, Baltimore received an email from an EPA official stating that

“Funding has been paused for grants under the Infrastructure Investment and Jobs Act at this

time,” including “all funding on existing grants for the Solid Waste Infrastructure for Recycling

(SWIFR) grant program.” The funding pause applied to the City’s $4 million SWIFR grant. Two

weeks later, on February 12, 2025, Baltimore received word from the EPA that it could resume

work on the grant. Although the grant is unfrozen as of the date of filing, such volatility in

funding availability disrupts this project. The SWIFR grant is reimbursement-based, so

Baltimore must front any money for the compositing facility and then seek reimbursement from

EPA. Thus, Baltimore is faced with the catch-22 of deciding whether to expend resources on the

project, given the risk that the funding will be suspended and expenses will not be reimbursed, or

to halt work on this important project.

   58. The YH2O+ program prepares young adults for full-time jobs in the water and solid

waste industries. Roughly 200 young men and women have successfully completed the program

since its inception in 2015. The YH2O+ program benefits Baltimore by providing a better-trained

workforce for to join City departments and staff its facilities. Baltimore relies on this program as

a pipeline for new workers. The EPA awarded Baltimore $524,000 through the Environmental

Justice Government-to-Government Program (previously known as the State Environmental

Justice Cooperative Agreement Program) for fiscal years 2021 through 2025, including a

$324,000 award for fiscal year 2025. Baltimore relies on the funding to operate its program.

   59. The YH2O+ awards were suspended following the President’s issuance of the Energy

EO. The funds had been present in Baltimore’s payment portal consistently prior to January 23,



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2025, but Baltimore was unable to draw down the funds on at least three dates in February 2025.

The awards reappeared in the portal on March 5, 2025, and Baltimore was able to draw down the

$200,000 award and close it out on March 6, 2025. However, as of March 11, 2025, the $324,000

award for fiscal year 2025 was missing again in Baltimore’s funding portal, and none of it has

been drawn down. Without these funds the YH2O+ program was put on hold in January.

Baltimore is very unlikely to run the program without the EPA funding, so it will lose the

opportunity to train future employees for city jobs.

   60. The $10 million Energy Codes grant will allow Baltimore to provide workforce training

related to building inspections; fund evaluation of energy code compliance and enforcement in

new and existing buildings; and develop and adopt new Building Performance Standards

consistent with the International Code Council (“ICC”) and International Energy Conservation

Code (“IECC”) construction standards, as is now required by the State of Maryland. The

initiative is also intended to contribute to the Baltimore’s greenhouse gas emissions reduction

goals and, because the City owns many buildings in Baltimore, would help Baltimore to ensure

compliance with Maryland’s strict new rules and avoid fines from the State.

   61. Baltimore received an Assistance Agreement for $10 million from the DOE in December

2024. It was signed on December 18, 2024, with a performance period to begin on January 1,

2025. Although Baltimore has the signed grant agreement, the City is awaiting DOE’s review

and approval of the Statement of Project Objectives (“SOPO”) for the City’s project. The SOPO

will specify what the $10 million in funding can be spent on. Once the SOPO is approved,

Baltimore will be able to begin drawing down funds. The City asked DOE on March 13, 2025

for a call to discuss the SOPO, seeking to finalize it, but the DOE gave a non-committal response

on March 14, 2025 and has not responded further. It appears that the $10 million in funding is on



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hold. For 2025, Baltimore planned to use the federal funding to hire new staff—including

educators, project managers, and consultants—and to audit buildings’ compliance with ICC and

IECC standards. Without the funds, the City is unable to begin the hiring and auditing process.

Pausing the Building Codes grant funding also negatively affects Baltimore’s own real estate in

the city.

    62. Plaintiff the City of Columbus (“Columbus”) is a municipal corporation organized under

Ohio law. See Ohio Constitution, Art. XVIII. Columbus prioritizes planting trees to enhance

residents’ health and quality of life, increase property values, and improve the environment.

Trees are particularly important in Columbus because they help to mitigate the city’s severe

urban heat island effect. As a part of its plan to improve the City’s tree canopy, Columbus,

through its Recreation and Parks Department, successfully applied for a $500,000 Urban and

Community Forestry Grant as a subgrantee of the Ohio Department of Natural Resources

(“ODNR”). The grant is designed for Columbus to purchase and plant approximately 1,250

diverse trees in disadvantaged areas in need of increased tree cover.

    63. During the 2024 planting season, Columbus expended $393,930 of the awarded

$500,000. On February 18, 2025, the ODNR sent a letter to the Columbus Recreation and Parks

Department explaining that the State’s reimbursement requests were not being processed by the

U.S. Forestry Service and suggesting that Columbus temporarily suspend expenses against their

grant, given the risk that expenses would not be reimbursed. ODNR also indicated that

Columbus should submit outstanding reimbursements. On February 27, 2025, Columbus

submitted a “Sub Awardee Request for Reimbursement(s)” to the ODNR requesting

reimbursement in the amount of $393,930. On March 13, 2025, ODNR sent an email reversing

course, stating that the grant was “approved for implementation.” However, Columbus has not



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yet been reimbursed for the $393,930 it has already spent and is concerned that the federal

government will continue to turn this grant on and off and may well not ultimately reimburse the

city for the full amount of eligible expenses. If Columbus does not receive the reimbursement it

is owed under this grant, it will be forced to cover this expense through money from its capital

budget.

   64. Plaintiff the City of Madison (“Madison”) is a municipal corporation organized and

existing under the laws of the State of Wisconsin. Madison has been awarded a $20 million grant

through EPA’s Community Change Grants Program to lead a collaborative project to improve

housing affordability through whole home energy upgrades, thereby saving residents money on

energy bills, improving indoor air quality, and cutting climate pollution. The project—a

partnership with four community organizations—aims to upgrade 825 units of housing in low-

income census tracts. These homes tend to be least energy efficient, and the residents are forced

to spend a disproportionate share of their income on home energy bills. Madison’s project also

aims to provide an additional 1,050 households with technology to reduce energy use by items

plugged into outlets in the home and 60 early career workers with workforce training.

   65. On or around January 31, 2025, Madison’s grant disappeared from the ASAP transaction

page, making it impossible to draw down funds. The grant was then labeled as “Suspended” until

around February 19, 2025, when that status changed to “Open.” On or around March 10, 2025,

the status changed back to “Suspended,” and Madison remains unable to draw down funds. Two

of Madison’s partner organizations—Sustain Dane and Project Home—have already begun work

to deliver their whole home upgrade programs, but they will not be able to continue if funding is

not unfrozen. The other two organizations have not been able to begin work on the project,

which means two key elements of the project, community outreach and workforce training, have



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not been implemented. Freezing this grant also creates several contractual problems for Madison:

Madison cannot continue to honor its subrecipient agreements with Sustain Dane and Project

Home, and it cannot execute expected agreements with the remaining two local partners

identified in the grant. Additionally, the EPA required Madison to identify a “statutory partner” in

the grant application. Madison indicated in the grant application that it would award $1,163,842

to its statutory partner, Urban Triage. Madison will not be able to honor its “Statutory Partnership

Agreement” with Urban Triage if the grant remains frozen. Finally, the grant program and the

text of the IRA require that the project be completed within three (3) years and do not allow

extensions, so even a temporary delay may impede Madison’s ability to achieve the project’s

goals. And a permanent freeze of this funding would deprive thousands of Madison’s most

vulnerable residents of the opportunity to significantly reduce their monthly energy bills,

improve their indoor air quality, and access job opportunities.

   66. Plaintiff the Metropolitan Government of Nashville & Davidson County (“Nashville”) is

a combined municipal corporation and county government organized and existing under the laws

of the State of Tennessee. In August of 2024, Nashville was awarded $4.7 million for its

“Electrify Music City” project, which would upgrade, improve and expand its public electric

vehicle charging infrastructure under the Charging and Fueling Infrastructure Grant program. A

few months later in January 2025, Nashville also won a highly competitive $9.3 million grant for

its “East Nashville Spokes” project under the Active Transportation Infrastructure Investment

Program to help fund a multi-modal, safe transit connection project that includes protected bike

lanes as well as Americans with Disabilities Act and pedestrian improvements. This project

would connect neighborhoods in the city so residents can have safer, better transit access to their




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jobs, including connecting a Metropolitan Development and Housing Agency (“MDHA”)

redevelopment district with the downtown area.

   67. Upon receiving notice of the Charging and Fueling Infrastructure award, Nashville

immediately began the process to complete a grant agreement with the Federal Highway

Administration (“FHWA”) so that it could get started on the work for the EV charging stations.

Over the next several weeks, Nashville and FHWA had a final grant agreement draft approved by

the local FHWA office, which was sent to FHWA headquarters for final draft approval in

December of 2024. Nashville has not heard anything from its partners at FHWA regarding the

grant agreement since this last communication other than to inform them that there is a new point

of contact.

   68. Defendant DOT’s failure and refusal to complete the grant agreement and make the

promised funds available has thrown planning and implementation of the Electrify Music City

project into disarray and uncertainty. Nashville started its procurement process for a vendor to

install, repair and improve its electric vehicle charging stations. Nashville selected a vendor and

entered into a contract with this vendor. Nashville now cannot guarantee that it has the federal

funds to complete certain projects with this vendor. Further, Nashville incorporated the awarded

funds in its Transportation Improvement Program budget for this fiscal year. With the funds

frozen, Nashville cannot properly plan or fully implement its project plans. Nashville has

operated free or affordable electric vehicle charging stations since 2017, and without fully

implementing this program, residents will not have access to the new amenities or the benefits

the project proposed. The accessibility of electric vehicle charging infrastructure not only

improves the quality of life for residents who use electric vehicles, but also reduces pollution in

the city that can cause medical issues for residents.



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   69. Similarly, after both a public press release and written notification by Defendant DOT

that Nashville won its award of $9.4 million, FHWA reached out to introduce their point of

contact and execute the grant agreement process on January 15, 2025. This was the last

communication that Nashville received from Defendants. Nashville residents expect and are

excited about the East Nashville Spokes project. It is a multi-year project that could transform

Nashville into a more walkable, bikeable city, and work on this project had already started when

the city applied. For the past several years, Nashville has been conducting community

engagement, planning, and designing to create a project plan for connecting several

neighborhoods in the city. To help it fund the next several phases of the project, Nashville

incorporated this project into a city-wide Transit Referendum that anticipates leveraging federal

funds to bring the project to completion. The Transit Referendum passed overwhelmingly in

November 2024. However, with the funds frozen, this project has languished in uncertainty. The

federal government freezing its award means that better connections across the city and safer

streets, including for connections between downtown and quickly developing areas in Nashville,

are not fully funded.

   70. Plaintiff the City of New Haven (“New Haven”) is a municipal corporation organized and

existing under the laws of the State of Connecticut. New Haven has received at least three EPA

grants funded by the IRA. In July 2024, New Haven received a $1 million Environmental Justice

Government-to-Government award to help city residents transition from burning heating oil to

efficient heat pumps for home heating and from gas stoves to induction stoves in order to reduce

heating costs and air pollution. The same month, New Haven was awarded a $9.5 million grant

under the EPA’s Climate Pollution Reduction Grant program to help fund an advanced

geothermal heat pump system that will heat and cool the city’s main train station, Union Train



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Station, and a planned 1000-unit New Haven Housing Authority housing development. In

January 2025, New Haven was awarded a $20 million Community Change Grant to improve

climate resiliency and quality of life for residents of 14 disadvantaged neighborhoods. New

Haven plans to use this funding to lead a coalition of 20 partner organizations to improve the

energy efficiency of affordable housing development, upgrade the energy efficiency of existing

homes, improve bike infrastructure and green spaces, and improve food rescue (matching unused

food from food businesses with people who need it), among other project components.

   71. On or before Monday, February 3, 2025, New Haven’s Government-to-Government

funding became unavailable. Over the next several weeks, the funding’s status in ASAP was

change to “Suspended,” then to “Open,” then back to “Suspended.” When the status is labeled as

“Suspended” it is not possible to draw down funds. The project has already begun in partnership

with several partner organizations, including the Community Action Agency of New Haven

(CAANH), which has already hired one full-time staff person who will likely need to be laid off

if the grant remains suspended. Other partner organizations have invoiced the City for staff time

spent working on the project, but the City is unable to obtain reimbursement and cannot afford to

continue to pay partner organizations’ invoices for work on this project unless the funding is

unfrozen.

   72. New Haven’s $9.5 million grant under the EPA’s Climate Pollution Reduction Program is

intended to provide approximately 60% of the funding required for its advanced geothermal heat

pump project. In recent weeks, the project’s status in ASAP has also toggled back and forth

between “Suspended” and “Open.” It is currently labeled as “Open.” This week, New Haven

plans to release a Request for Proposals to design the new geothermal heating and cooling

system. After 30 days, New Haven plans to select a firm to design the system, but without greater



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certainty about the availability of the grant funding the City will be unable to enter into a

contract to design the complex system. The funding uncertainty may also chill qualified bidders

for the project. An extended delay will likely prevent the project from ever getting started,

depriving New Haven of an innovative geothermal system that would both reduce the train

station’s energy expenses and help the City to achieve its goal of completely electrifying City

operated buildings by 2030.

   73. On February 3, 2025, New Haven received formal notice of its $20 million Community

Change award. Since the grant appeared in ASAP, it has also toggled back and forth between

“Suspended” and “Open.” Its current status is “Suspended.” The period of performance for the

award begins on April 1, 2025, and New Haven is currently finalizing job descriptions for new

hires to launch and manage the project, but the City will be unable move forward so long as the

grant is frozen or at risk of being frozen. Without the grant, New Haven and its residents will be

deprived of improved infrastructure and housing, and more residents will likely go hungry unless

the City diverts funding from other priorities.

   74. Plaintiff City of San Diego (“San Diego”) is a municipal corporation and California

charter city, duly organized and existing by virtue of the laws of the State of California. San

Diego is the second largest city in California and the eighth largest city in the United States. In

2024, San Diego was awarded an approximately $10 million grant under the USDA’s Urban and

Community Forestry grant program for a project entitled “Ready, Set, Grow San Diego.” The

grant funds a five-year program to plant and maintain trees in local communities as part of an

ongoing effort to grow and improve San Diego’s urban forest. This grant is intended to increase

equitable access to trees and nature, aid in combating extreme heat and climate change, and

provide much-needed shade to San Diego residents. Trees also help to reduce air pollution levels,



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   protect vulnerable residents, and increase stormwater absorption, leading to less runoff and

   decreased flood risk.

       75. In February 2025, a program manager from USDA verbally notified a City Forester by

   phone that USDA’s Budget and Finance Incident Finance Branch, Albuquerque Service Center

   (ASC) had paused payments for grant reimbursement requests, but recommended to continue

   submitting reimbursement requests. USDA declined to provide written confirmation of the

   pause. On March 20, USDA indicated that payments were being processed and that the next

   invoice “should” be paid within approximately one week. The City has thus far expended

   approximately $66,000, approximately $5,000 of which was reimbursed in December 2024, and

   the total remaining value of the awarded grant is $9,994,781.69. Without this grant, San Diego

   would be forced to modify or cancel its Ready, Set, Grow San Diego program because the City’s

   General Fund cannot absorb the costs. In turn, the City would lose the many benefits associated

   with greater tree cover and would struggle to meet its climate action goals as outlined in its

   Climate Action Plan, aiming to enhance green spaces that contribute to a healthier and more

   livable city.

II.    Defendants

       76. Defendant Donald J. Trump is the President of the United States. He signed the Energy

  EO, Equity EO, and Cost Efficiency EO. Defendant Trump is sued in his official capacity as

  President of the United States.

       77. Defendant Kevin Hassett is the Assistant to the President for Economic Policy and

  Director of the National Economic Council. In these roles, Defendant Hassett advises President

  Trump on various economic matters. See Exec. Order 12835, Establishment of the National

  Economic Council, 58 Fed. Reg. 6189 (Jan. 27, 1993).



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   78. Defendant Hassett is also responsible for determining whether IRA and IIJA funds are

consistent with President Trump’s policies and should be disbursed. Energy EO § 7. Defendant

Hassett is sued in his official capacity as Assistant to the President for Economic Policy and

Director of the National Economic Council.

   79. Defendant Office of Management and Budget is a cabinet agency in the Executive branch

that oversees the federal budget. See 31 U.S.C. §§ 501–07.

   80. The Office of Management and Budget has issued multiple memoranda that have directed

the freeze of federal grant funds.

   81. Defendant Russell Vought is the Director and highest-ranking official of the Office of

Management and Budget, see id. § 502, which is a cabinet agency in the Executive branch that

oversees the federal budget. See id. §§ 501–07. Defendant Vought is sued in his official capacity

as OMB Director.

   82. Defendant Vought’s predecessor, then-acting OMB Director Matthew J. Vaeth, authored

the First OMB Memo challenged in this case freezing IRA and IIJA funds.

   83. As current OMB Director, Defendant Vought is responsible for that Memo and ensuring

its directives are implemented by agencies that administer the IRA and IIJA. See id. § 503(a)

(granting Director authority to direct and approve “governmentwide financial management

policies for executive agencies”).

   84. Under Section 7 of the Energy EO, Defendant Vought and the OMB are responsible for

determining whether IRA and IIJA funds are consistent with President Trump’s policies and

should be disbursed.

   85. Under Section 2(b) of the Equity EO, Vought is also responsible for consulting with

federal agencies to “terminate . . . ‘equity-related’ grants or contracts.”



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    86. Defendant EPA is an independent agency in the Executive branch responsible for

enforcing the Nation’s environmental laws, for overseeing congressionally mandated grants and

programs related to environmental protection, and for distributing funds Congress specifically

appropriated to those grants and programs.

    87. Defendant Lee Zeldin is the Administrator of the U.S. Environmental Protection Agency.

See Reorganization Plan No. 3 of 1970, 42 U.S.C. § 4321 note. Defendant Zeldin is sued in his

official capacity as EPA Administrator.

    88. Defendants Zeldin and the EPA are tasked with the implementation of the Energy EO and

with implementing the Equity EO’s directive to “terminate . . . ‘equity-related’ grants or

contracts.”

    89. Defendant Zeldin is ultimately responsible for the EPA Memo challenged in this case

freezing IRA and IIJA funds and ensuring that EPA staff implement its directives.

    90. Defendant USDA is an executive branch agency responsible for providing leadership on

food, agriculture, natural resources, rural development, nutrition, and related issues based on

public policy, the best available science, and effective management.

    91. Defendant USDA is tasked with administering various grant programs funded by

Congress in the IRA and IIJA, including the Partnerships for Climate-Smart Commodities

program.

    92. Defendant Brooke Rollins is the Secretary of Agriculture. Defendant Rollins serves as the

head and highest-ranking official of the USDA. See 7 U.S.C. § 2202. Defendant Rollins is sued

in her official capacity.




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    93. Defendant Rollins is ultimately responsible for USDA’s ongoing freeze of IRA funds

challenged in this case. USDA is also tasked with implementing the Equity EO’s directive to

“terminate . . . ‘equity-related’ grants or contracts.”

    94. Defendant U.S. Department of Transportation is an executive branch agency responsible

for ensuring a safe, efficient, and modern transportation system that serves the American people

and economy, promoting the safe, efficient, sustainable, and equitable movement of people and

goods.

    95. Defendant DOT is tasked with administering various grant programs funded by Congress

in the IRA and IIJA.

    96. Defendant Sean Duffy is the Secretary of the Department of Transportation. Defendant

Duffy serves as the head and highest-ranking official of DOT. Defendant Duffy is sued in his

official capacity.

    97. Secretary Duffy was responsible for the March 12, 2025, directive to interfere with

federal grants administered by the Department of Transportation.

    98. Defendant Duffy is ultimately responsible for DOT’s ongoing freeze of funds challenged

in this case. DOT is also tasked with implementing the Equity EO’s directive to “terminate . . .

‘equity-related’ grants or contracts.”

    99. Defendant U.S. Department of Energy (“DOE”) is an executive branch agency

responsible for advancing the national, economic, and energy security of the United States and

ensuring a safe, clean, efficient, energy system that serves the American people and economy.

    100. Defendant DOE is tasked with administering various grant programs funded by

Congress in the IRA and IIJA,




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      101. Defendant Chris Wright is the Secretary of the Department of Energy. Defendant Wright

serves as the head and highest-ranking official of DOE. Defendant Wright is sued in his official

capacity.

      102. Defendant Wright is ultimately responsible for DOE’s ongoing freeze of funds

challenged in this case.

      103. Defendant DOGE coordinates teams across multiple agencies with the goal of

reconfiguring agency data, technology, and spending. Exec. Order No. 14210, 90 Fed. Reg. 9669

(Feb. 11, 2025); Exec. Order No. 14222, 90 Fed. Reg. 11095 (Feb. 26, 2025). In performing this

role, DOGE acts as an agency––and not merely an advisor to the President.

      104. Defendant DOGE or United States DOGE Service is an entity established by President

Trump within the Executive Office of the President “to implement the President’s DOGE

Agenda.” Exec. Order No. 14158, 90 Fed. Reg. 8441 (Jan. 20, 2025). Executive Order 14158

also established a temporary organization known as the U.S. DOGE Service Temporary

Organization within DOGE “dedicated to advancing the President’s 18-month DOGE agenda.”

Id.

      105. Defendant DOGE is integral to the implementation of the funding freeze. The DOGE

EO instructs agencies to review existing grants “in consultation with the agency’s DOGE Team

Lead” and “terminate or modify” those grants to “advance the policies of [the Trump]

Administration.” Exec. Order 14222, 90 Fed. Reg. 11095 (Feb. 26, 2025). Further, on March 3,

2025, EPA announced a new policy that any assistance agreement or contract “$50,000 or greater

must receive approval from an EPA DOGE Team member.” Ex. G.

      106. Defendant Amy Gleason is the acting administrator of DOGE and is sued in her official

capacity.



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        107. Defendant Elon Musk is a federal officer, Senior Advisor to the President, and special

  government employee within the Executive Office of the President. Mr. Musk is also the de facto

  head of DOGE, sued here in his official capacity. While the Director of the Office of

  Administration recently stated that Mr. Musk is “not an employee of the U.S. DOGE Service or

  U.S. DOGE Temporary Organization,” 2 Mr. Musk is the de facto head of DOGE. As President

 Trump made clear in his March 4, 2025, speech to Congress, DOGE is “headed by Elon Musk,

 who is in the gallery tonight.” See Full Transcript of President Trump’s Speech to Congress, N.

 Y. Times (Mar. 4, 2025), https://www.nytimes.com/2025/03/04/us/politics/transcript-trump-

  speech-congress. html.

                                            BACKGROUND

        108. In each of the applicable statutes governing the unstable or frozen funds, Congress has

 spoken clearly and unmistakably as to its mandates and intent. The Defendants have violated

 these mandates at each and every turn.

I.      Federal Funding Obligations and Relevant Statutory Grant Programs

        a. Federal Funding Obligations

        109. After Congress passes a bill appropriating funding and the President signs it into law,

     OMB apportions the funds to the appropriate agencies, which must “obligate” and pay the funds

  in accordance with Congress’s directives. See U.S. Gov’t Accountability Office, Office of the

  General Counsel, Principles of Federal Appropriations Law at 2-3–2-4, GAO-16-464SP (4th ed.

 2016), https://perma. cc/EBK3-7A5L (the “Red Book”).




  2
      Decl. of Joshua Fisher, New Mexico v. Elon Musk, No. 1:25-cv-429 (D.D.C. Feb. 17, 2025),
     ECF No. 24-1.


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    110. “Obligating” funds is a budgeting term of art: funds are “obligated” by the agency when

there is “some action that creates a legal liability or definite commitment on the part of the

government, or creates a legal duty that could mature into a legal liability by virtue of an action

that is beyond the control of the government.” Red Book at 7-3–7-4, GAO-06-382SP (3d ed.

2006), https://perma. cc/W2LU-P49R.

    111. “[T]he ‘obligational event’ for a grant generally occurs at the time of grant award.” Red

Book at 10-107, GAO-06-382SP (3d ed. 2006).

    b. The Inflation Reduction Act

    112. In 2022, Congress passed and the President signed into law the Inflation Reduction Act,

Pub. L. No. 117-169, 136 Stat. 1818 (Aug. 16, 2022) (“IRA”).

    113. The IRA created numerous new statutory programs and appropriated $433 billion for

investments over ten years to support those programs, including $369 billion for climate change

and energy programs.

                            Environmental and Climate Justice Block Grants

    114. Among other programs, the IRA amended the Clean Air Act to create a new program for

“Environmental and Climate Justice Block Grants.” Id. § 60201, 136 Stat. at 2078 (codified at 42

U.S.C. § 7438).

    115. Congress appropriated $2.8 billion to EPA to award grants under the program, and

another $200 million to EPA to provide technical assistance to eligible entities related to the

grants.

    116. Congress instructed that the EPA Administrator “shall” use these funds “to award grants

for periods of up to 3 years to eligible entities to carry out [certain specified] activities . . . that

benefit disadvantaged communities,” 42 U.S.C. § 7438(b)(1) (emphasis added), such as



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“community-led air and other pollution monitoring, prevention, and remediation,” “mitigating

climate and health risks from urban heat islands, extreme heat, wood heater emissions, and

wildfire events,” “climate resiliency and adaptation,” “reducing indoor toxics and indoor air

pollution,” and “facilitating engagement of disadvantaged communities in State and Federal

advisory groups, workshops, rulemakings, and other public processes.” Id. § 7438(b)(2).

     117. Congress defined “eligible entity” as “a community-based nonprofit organization,” “a

partnership of community-based nonprofit organizations,” or a partnership between such

nonprofits and “an Indian tribe, a local government, or an institution of higher education.” Id.

§ 7438(b)(3).

     118. EPA has awarded Environmental and Climate Justice Block Grants through several sub-

programs, including the Environmental and Climate Justice Community Change Grants Program

(“Community Change Grants”), the Environmental Justice Collaborative Problem-Solving

Cooperative Agreement Program, 3 and Environmental Justice Government-to-Government

Grants.

     119. By December 2024, EPA had selected 105 recipients of Community Change Grants and

awarded them nearly $1.6 billion in a highly competitive process with approximately 2,700

applicants. Plaintiffs The Sustainability Institute, Bronx River Alliance, Earth Island, Leadership

Counsel for Justice and Accountability, New Haven and Madison are among the recipients of

Community Change Grants.

     120. EPA has selected 98 recipients of Environmental Justice Collaborative Problem-Solving

Cooperative Agreements and awarded a total of $43.8 million in IRA funding through this



3
 EPA, Biden-Harris Administration Announces Nearly $1.6 Billion in Environmental and
Climate Justice Community Change Grants (Dec. 12, 2024), https://perma.cc/2ETK-BDDM.


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program. Plaintiffs Bronx River Alliance and CleanAIRE NC are among the recipients of awards

under this program.

      121. For Fiscal Year 2023, EPA used IRA and annual appropriations to fund awards to

governmental entities partnering with community-based organizations. In particular, EPA

awarded $20 million from annual appropriations to states partnering with community-based

organizations, and $10 million to “U.S. territories, freely associated states, Puerto Rico, and

tribes in remote areas.” 4 EPA awarded $20 million from IRA appropriations to local governments

partnering with community-based organizations and $20 million to tribal governments partnering

with community-based organizations. 5

      122. For Fiscal Year 2024, EPA awarded about $81.5 million in Environmental Justice

Government-to-Government Grants. Of this, about $52.5 million came from the IRA

appropriations, while about $29 million came from annual appropriations. 6 Plaintiffs Baltimore

and New Haven are recipients of Government-to-Government Environmental Justice Grants.

                    Equity in Conservation Outreach Cooperative Agreements,
            Environmental Quality Incentives Program - Conservation Innovation Grants;
                           The Conservation Stewardship Program, and
                    Conservation Technical Assistance Cooperative Agreements

      123. In Section 21001 of the IRA, Congress made a significant investment in specific

programs to be facilitated by the Commodity Credit Corporation, appropriating over $18 billion




4
 EPA, Environmental Justice Government-to-Government Program (Jan. 7, 2025),
https://perma.cc/EV5P-N253.
5
    Id.
6
 System for Award Management (SAM.gov), Environmental Justice Government-to-
Government (EJG2G) Program, https://perma.cc/FZ73-E47J (last visited Mar. 16, 2025).
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to the Secretary of Agriculture to remain available until September 30, 2031. IRA, § 21001, 136

Stat. at 2015–16.

     124. Congress directed that that this funding “shall” be available to support certain

agricultural practices that “directly improve soil carbon, reduce nitrogen losses, or reduce,

capture, avoid, or sequester carbon dioxide, methane, or nitrous oxide emissions, associated with

agricultural production.” Id. (emphasis added). Carbon dioxide, methane, and nitrous oxide are

common greenhouse gases that contribute to climate change. 7

     125. The Environmental Quality Incentives Program was established “to promote agricultural

production, forest management, and environmental quality as compatible goals.” 110 Stat. 997;

codified at 16 U.S.C. § 3839aa. As part of this program, the Natural Resources Conservation

Service offers Conservation Innovation Grants – a competitive grant program designed to

stimulate the development and adoption of innovative conservation approaches and technologies.

7 C.F.R. § 1466.31 et. seq. Plaintiff Pasa is a recipient of a Conservation Innovation Grant.

     126. The Equity in Conservation Outreach Cooperative Agreements are authorized in part by

various provisions of the Farm Security Act, including the Environmental Quality Incentives

Program (16 U.S.C. §§ 3839aa to 3839aa-8), the Conservation Stewardship Program (16 U.S.C.

§§ 3839aa-21 to 3839aa-25), and the Agricultural Conservation Easement Program (16 U.S.C. §§

3865 to 3865d).

     127. Each of these programs is facilitated by the Commodity Credit Corporation. In addition,

Equity in Conservation Outreach Cooperative Agreements are authorized by the Conservation

Technical Assistance Program created by the Soil Conservation and Domestic Allotment Act of



7
 EPA, Overview of Greenhouse Gases, https://perma.cc/TG2E-UT5X (last updated Jan. 16,
2025).


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1935. 16 U.S.C. §§ 590a to 590q-3. The Conservation Technical Assistance Program is operated

through the Natural Resources Conservation Service and funded through appropriations.

   128. As discussed above, in Section 21001 of the IRA, Congress made a significant

investment and appropriated over $18 billion to the Secretary of Agriculture to remain available

until September 30, 2031, to fund specific programs including the Environmental Quality

Incentives program, the Conservation Stewardship Program, and the Agricultural Conservation

Easement Program to be facilitated by the Commodity Credit Corporation. 136 Stat. at 2015–17.

Congress specified that the funds facilitated by the Commodity Credit Corporation “shall” be

available for “agricultural conservation practices.” Id. at 2016. In addition, in Section 21002 of

the IRA, Congress appropriated $1 billion to the Natural Resources Conservation Service to

provide conservation technical assistance. Id. at 2018

   129. Plaintiffs OAK and RAFI-USA are recipients of the Equity in Conservation Outreach

Cooperative Agreements.

   130. Plaintiff Marbleseed is a recipient of a Natural Resources Conservation Service, Organic

Technical Staffing Assistance grant.

   131. Plaintiff Alliance for Agriculture is a sub-awardee on a grant awarded to Plaintiff RAFI-

USA through the Conservation Technical Assistance Program.

                               Increasing Land Access Grants,
                    Rural Development Policy Cooperative Agreements, and
             American Rescue Plan Technical Assistance Investment Program Grants

   132. Section 1006 of the American Rescue Plan Act of 2021 appropriated over $1 billion to

the Secretary of Agriculture for fiscal year 2021 and directed that the Secretary “shall” use those

funds on various agricultural programs that benefit “socially disadvantaged farmers, ranchers, or




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forest landowners, or other members of socially disadvantaged groups.” Pub. L. 117-2, 135 Stat.

4, 13–14.

     133. In Section 22007 of the IRA, Congress amended Section 1006 of the American Rescue

Plan Act and appropriated an additional $2.9 billion to the Secretary of Agriculture to fund

various agricultural programs to benefit “underserved farmers, ranchers, or forest landowners,”

certain educational institutions that serve underserved communities, and “farmers, ranchers, or

forest landowners determined to have experienced discrimination prior to January 1, 2021, in

Department of Agriculture farm lending programs . . . .” IRA, § 22007, 136 Stat. at 2022–23.

     134. Section 22007 of the IRA directs the Secretary to use these funds, among other

purposes, “to provide outreach, mediation, financial training, capacity building training,

cooperative development and agricultural credit training and support, and other technical

assistance on issues concerning food, agriculture, agricultural credit, agricultural extension, rural

development, or nutrition;” “to provide grants and loans to . . . improve land access (including

heirs’ property and fractionated land issues);” to “address racial equity issues within the

Department of Agriculture and the programs of the Department of Agriculture;” “to support and

supplement agricultural research, education, and extension, as well as scholarships and programs

that provide internships and pathways to agricultural sector or Federal employment;” and

“to provide financial assistance, including the cost of any financial assistance.” Id.

     135. USDA invested several hundred million dollars of these IRA funds to create the

“Increasing Land, Capital and Market Access Program” (“Increasing Land Access Grants”). 8



8
 USDA, USDA Announces Up to $550 Million in American Rescue Plan Funding for Projects
Benefiting Underserved Producers and Minority Serving Institutions that Create Career
Development Opportunities for Next Generation Leaders (Aug. 24, 2022),
https://perma.cc/AC6N-Y4PC.


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    Fifty recipients have been awarded approximately $300 million. Plaintiffs Agrarian Trust and

    RAFI-USA are Increasing Land Access Grants recipients. 9 Plaintiff Alliance for Agriculture is a

    subaward recipient of RAFI-USA’s Increasing Land Access Grant.

      136. USDA also invested funds appropriated under Section 22007 of the IRA into American

Rescue Plan Technical Assistance Investment Program grants, a program originally authorized

under Section 1006 of the American Rescue Plan Act of 2021. Plaintiff RAFI-USA is among the

recipients of American Rescue Plan Technical Assistance Investment Program grants.

      137. Upon information and belief, USDA also invested funding appropriated under Section

22007 of the IRA into the Rural Development Policy Cooperative Agreement program.

Established by the Rural Development Act of 1972, the Rural Development Policy Cooperative

Agreement program authorizes USDA to enter into cooperative agreements “to improve the

coordination and effectiveness of Federal programs, services, and actions affecting rural areas,

including the establishment and financing of interagency groups, if the Secretary determines that

the objectives of the agreement will serve the mutual interest of the parties in rural development

activities.” 7 U.S.C. § 2204b(b)(4)(A). Plaintiff RAFI-USA is among the recipients of Rural

Development Policy Cooperative Agreement.

                                 Climate Pollution Reduction Grants

      138. In Section 60114 of the IRA, Congress amended the Clean Air Act to create a program

for Climate Pollution Reduction Grants. Congress appropriated $250 million, to remain available

until September 30, 2031, for greenhouse gas air pollution planning grants. IRA § 60114, 136




9
  USDA, Increasing Land, Capital, and Market Access Program, https://perma.cc/8YBV-U6QC
(last accessed Mar. 11, 2025).


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Stat. at 2076. Congress appropriated $4.75 billion, to remain available until September 30, 2026,

for greenhouse gas air pollution implementation grants. Id.

      139. Section 60114(b) provides that the EPA Administrator “shall make a grant to at least one

eligible entity in each State for the costs of developing a plan for the reduction of greenhouse gas

air pollution.” Id. (emphasis added). “Each such plan shall include programs, policies, measures,

and projects that will achieve or facilitate the reduction of greenhouse gas air pollution.” Id.

(emphasis added). The Administrator “shall publish a funding opportunity announcement for”

these grants no later than 270 days after the statute’s enactment. Id. (emphasis added).

      140. Section 60114(c) provides that the EPA Administrator “shall competitively award grants

to eligible entities to implement plans developed under subsection (b).” Id. (emphasis added).

Applications for these grants “shall include information regarding the degree to which

greenhouse gas air pollution is projected to be reduced in total and with respect to low-income

and disadvantaged communities,” and the Administrator “shall make funds available to” grantees

“based on [their] performance in implementing [their] plan[s] submitted under this section and in

achieving projected greenhouse gas air pollution reduction.” IRA § 60114, 136 Stat. at 2077

(emphasis added).

      141. In 2024, 211 states, municipalities, tribes, and territories submitted their Priority

Climate Action Plans to EPA. 10 EPA then awarded over $4.3 billion to 25 state, local, and tribal

recipients under the Climate Pollution Reduction Grants Implementation Grants General

Competition. These “grants will implement community-driven solutions to tackle the climate




10
  EPA, Climate Pollution Reduction Grants, https://perma.cc/TFS4-V24L (last accessed Mar.
13, 2025).


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crisis, reduce air pollution, and accelerate the clean energy transition.” 11 Plaintiff New Haven is a

Climate Pollution Reduction Grants Implementation Grant recipient.

                              Urban and Community Forestry Grants

      142. In Section 23003(a)(2) of the IRA, Congress appropriated $1.5 billion to USDA, to

remain available until September 30, 2031, for multiyear, programmatic, competitive grants to

local governments and other entities through the Urban and Community Forestry Assistance

program established under section 9(c) of the Cooperative Forestry Assistance Act of 1978, 16

U.S.C. § 2105(c), for tree planting and related activities. These funds are administered through

the U.S. Forest Service, an agency within USDA.

      143. The purposes of the Urban and Community Forestry Assistance program, as laid out in

16 U.S.C. § 2105(b), include “implement[ing] tree planting program[s] to complement urban and

community tree maintenance and open space programs and to reduce carbon dioxide emissions,

conserve energy, and improve air quality in addition to providing other environmental benefits.”

      144. Following a competitive application process, the Forest Service announced more than

$1 billion in grants to 385 community-based organizations, local and state governments, and

other entities in all 50 states. The agency also allocated $250 million in funding directly to state

and territory forestry agencies to administer grants. 12

      145. The awarded projects are dedicated to “tree planting and maintenance, workforce

development, wood utilization, extreme heat mitigation, restoration and resilience strategies, and




11
     Id.
12
  USDA, Urban and Community Forestry Factsheet (2023), https://perma.cc/2VG4-QBUL;
USDA, Urban Forests, https://www.fs.usda.gov/managing-land/urban-forests (last visited Mar.
13, 2025).


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community planning. Most projects include multiple themes.” 13 Plaintiffs Columbus and San

Diego are Urban and Community Forestry Grant recipients.

                 Distressed Borrower Assistance Network Cooperative Agreements

      146. In Section 22006 of the IRA, Congress appropriated $3.1 billion to USDA, to remain

available until September 30, 2031, “to provide payments to, for the cost of loans or loan

modifications for, or to carry out section 331(b)(4) of the Consolidated Farm and Rural

Development Act,” 7 U.S.C. § 1981(b)(4), “with respect to distressed borrowers of direct or

guaranteed loans administered by the Farm Service Agency under subtitle A, B, or C of that

Act,” 7 U.S.C. §§ 1922–1970. IRA, 136 Stat. at 2021.

      147. Congress intended this funding to “provide relief to those borrowers whose agricultural

operations are at financial risk as expeditiously as possible.” IRA, § 22006, 136 Stat. at 2021.

      148. The USDA launched the Distressed Borrowers Assistance Network in September 2024 14

to provide relief to distressed direct and guaranteed farm loans and implement Section 22206 of

the IRA. 15 This network was formed through “a series of Cooperative Agreements” with network

partners including RAFI-USA. 16

      149. Plaintiff RAFI-USA is thus a recipient of a Distressed Borrower Assistance Network

Cooperative Agreement.



13
     USDA, Urban and Community Forestry Factsheet (2023), https://perma.cc/2VG4-QBUL.
14
  USDA, USDA Launches Assistance Network to Support Financially Distressed Farmers and
Ranchers (Sept. 21, 2024) https://perma.cc/5NKR-QN35.
15
  USDA, USDA Announces Additional $250 Million in Financial Assistance for Distressed
Farm Loan Borrowers (Oct. 7, 2024) https://perma.cc/78X4-JYNV.
16
  USDA, USDA Launches Assistance Network to Support Financially Distressed Farmers and
Ranchers (Sept. 21, 2024) https://perma.cc/5NKR-QN35.


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                   Assistance for Latest and Zero Building Energy Code Adoption

      150. In section 50131 of the IRA, Congress allocated $1 billion to help state and local

governments update their building energy codes. Congress provided that Secretary of Energy

“shall use” $330 million of these funds for grants to assist in the adoption of energy codes that

meet or exceed the 2021 International Energy Conservation Code for residential building or the

ANSI/ASHRAE/IES Standard 90.1-2019 for commercial buildings and in achieving compliance

with such a plan. The Secretary “shall use” the remaining $670 million for grants to assist in the

adoption of building energy codes that meet or exceed the zero energy provisions in the 2021

International Energy Conservation Code or an equivalent stretch code and in achieving

compliance with such a code.

      151. Section 50131(a) provides that this funding is appropriated “to carry out activities under

part D of title III of the Energy Policy and Conservation Act,” a law with the express purpose of

“promot[ing] the conservation of energy and reduc[ing] the rate of growth of energy demand.”

42 U.S.C. § 6321(b).

      152. DOE allocated $400 million to a formula grant program for states, and $530 million to

a competitive grant program for states and localities. 17 The competitive grant program was

divided into three rounds of funding, with two having already been awarded. Plaintiff Baltimore

is a recipient of a grant under this program.

      c. The Infrastructure Investment and Jobs Act

      153. In 2021, Congress passed and the President signed into law the Infrastructure

Investment and Jobs Act, Pub. L. No. 117-58, 135 Stat. 429 (2021) (“IIJA”).



17
 DOE, Clean Energy Infrastructure Funding Opportunity Exchange, https://perma.cc/NZ9E-
RPZF.
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      154. The IIJA appropriated approximately $660 billion to fund a wide variety of programs to

create jobs, lower energy costs, improve infrastructure, and help communities burdened by

pollution.

                           Solid Waste Infrastructure for Recycling Grants

      155. In section 601 of the IIJA, Congress appropriated $275 million for grants under section

302(a) of the Save Our Seas 2.0 Act of 2020. IIJA, § 601, 135 Stat. at 1404. It provided that

$55,000,000, to remain available until expended, “shall be made available” for fiscal year 2022,

and the same for each subsequent fiscal year through 2026. Id.

      156. Section 302(a) of the Save Our Seas 2.0 Act created a recycle-ing grant program to

“support improvements to local post-consumer materials management, including municipal

recycling programs” and “to assist local waste management authorities in making improvements

to local waste management systems.” Pub. L. 116-224 § 302(a), 134 Stat. 1072, 1092 (2020).

Congress directed that in developing application requirements, the EPA Administrator “shall

consider” requesting “a description of how the funds will support disadvantaged communities.”

Id. at 1091.

      157. Section 302(a) of the Save Our Seas 2.0 Act authorized the Solid Waste Infrastructure

for Recycling Grants program while the IIJA appropriated significant funding for the program. 18

      158. In 2023, EPA selected 25 local governments to receive the first round of Solid Waste

Infrastructure for Recycling Grants out of 311 total applications. Plaintiff Baltimore is a recipient

of a Solid Waste Infrastructure for Recycling Grant.




18
   EPA, Solid Waste Infrastructure for Recycling Grant Program, https://perma.cc/TA34-V755
(last accessed Mar. 13, 2025).


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                    Innovative Nutrient and Sediment Reduction Grant Program

      159. In Section 601 of the IIJA, Congress appropriated $1.959 billion for Environmental and

Program Management at EPA. 135 Stat. at 1396. Of these funds, Congress directed that $238

million “shall be for” EPA’s Chesapeake Bay Program. Id. The Chesapeake Bay Program was

established by Section 117 of the Clean Water Act. 33 U.S.C. § 1267.

      160. Of these IIJA funds directed to the Chesapeake Bay Program, EPA allocated $83 million

to the National Fish and Wildlife Foundation to administer both Small Watershed Grants and the

Innovative Nutrient and Sediment Reduction programs. 19 Innovative Nutrient and Sediment

Reduction grants are awarded to support innovative, sustainable, and cost-effective approaches

that reduce nutrient and sediment pollution to the Chesapeake Bay and its local waterways.

      161. In fiscal year 2024, the National Fish and Wildlife Foundation awarded $22.4 million to

13 new or continuing Innovative Nutrient and Sediment Reduction Grant projects. Those 13

awards leveraged $35.3 million in matching funds, providing a total conservation impact of

$57.7 million.

      162. Plaintiff Alliance for the Shenandoah Valley is a recipient of an Innovative Nutrient and

Sediment Reduction grant.

                        Charging and Fueling Infrastructure Program Grant

      163. In Section 11401 of the IIJA, Congress established “a grant program to strategically

deploy publicly accessible electric vehicle charging infrastructure, hydrogen fueling

infrastructure, propane fueling infrastructure, and natural gas fueling infrastructure along

designated alternative fuel corridors or in certain other locations that will be accessible to all



19
  Biden-Harris Administration announces $206 million to selectees to protect and restore
Chesapeake Bay through community partnerships, https://perma.cc/R46D-UEB4.


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drivers of electric vehicles, hydrogen vehicles, propane vehicles, and natural gas vehicles.”

Eligible entities include “units of municipal government.” Pub. L. 117-58 § 11401(a), 135 Stat.

546, 547 (2021).

   164. Congress appropriated $2.5 billion for the Charging and Fueling Infrastructure Grant

Program. Id. §§ 11101(a)(5)(b)(C)(i) –(v), 135 Stat. 445. Specifically, Congress appropriated

$300,000,000 for fiscal year 2022, $400,000,000 for fiscal year 2023, $500,000,000 for fiscal

year 2024, $600,000,000 for fiscal year 2025, and $700,000,000 for fiscal year 2026. Id.

   165. Plaintiff Nashville has been awarded a Charging and Fueling Infrastructure Grant.

                   Active Transportation Infrastructure Investment Grant Program.

   166. In Section 11529 of the IIJA, Congress directed the Secretary of Transportation to

“carry out an active transportation infrastructure investment program to make grants, on a

competitive basis, to eligible organizations to construct eligible projects to provide safe and

connected active transportation facilities in an active transportation network or active

transportation spine.” 135 Stat. 612.

   167. Congress appropriated $200,000,000 for each of fiscal years 2022 through 2026 for the

Active Transportation Infrastructure Investment Grant Program. 135 Stat. 615.

   168. Plaintiff Nashville has been awarded an Active Transportation Infrastructure Investment

Grant.

   d. Other Grants

                        Partnerships for Climate-Smart Commodities Grants

   169. The Partnerships for Climate-Smart Commodities Grant program was established under

the Commodity Credit Corporation Charter Act, an arm of the USDA created to support farming.

See 15 U.S.C. § 714. The Commodity Credit Corporation was created for the purposed of



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“stabilizing, supporting, and protecting farm income and prices, of assisting in the maintenance

of balanced and adequate supplies of agricultural commodities, products thereof, foods, feeds,

and fibers . . . and of facilitating the orderly distribution of agricultural commodities.” The

Climate-Smart Commodities program is intended to achieve this purpose by supporting climate-

smart farmers, ranchers, and forest owners to strengthen and stabilize U.S. rural agricultural

communities.

      170. USDA invested over $3.1 billion of Commodity Credit Corporation funding in the

“Partnerships for Climate-Smart Commodities” program and has already approved 141 projects

for awards.21 Upon information and belief, appropriations from Section 21001 of the IRA, 136

Stat. at 2015–2016, were also used to fund the Partnerships for Climate-Smart Commodities

Program. 20 Plaintiffs Alliance for the Shenandoah Valley, Conservation Innovation Fund,

Marbleseed, OAK, Pasa, and RAFI - USA are recipients of the Partnerships for Climate-Smart

Commodities grants.

                          Farm and Food Workers Grant Relief Program

      171. In Section 101 of the Specialty Crops Competitiveness Act of 2004, Congress

established a Specialty Crop Block Grants program and appropriated $44.5 million for each

fiscal year from 2005 to 2009 for that purpose. 118 Stat. 3883. This program was later amended

by the Agricultural Improvement Act of 2018, which extended the program through 2023 and

authorized USDA to directly administer multistate programs. 132 Stat. 4905-06. The

Consolidated Appropriations Act of 2021 appropriated an additional $100 million to this program




20
   See USDA, Biden-Harris Administration Announces New Investments to Improve
Measurement, Monitoring, Reporting and Verification of Greenhouse Gas Emissions through
President Biden’s Investing in America Agenda (July 12, 2023), https://perma.cc/MF4G-GYC3
(referring to the Partnerships program as an “Inflation Reduction Act investment”).
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   “to remain available until expended.” 134 Stat. 2108. In addition, the Consolidated

   Appropriations Act of 2021, provided $1.5 billion “for grants and loans” for measures to protect

      food producers, among others, against COVID-19. 134 Stat. 2107.

         172. In September 2021, USDA announced the creation of the Farm and Food Workers

      Relief grant program using funds from the Consolidated Appropriations Act of 2021. 21 The

      program was designed to provide relief to farmworkers, meatpacking workers, and front-line

      grocery workers for expenses incurred due to the COVID-19 pandemic. Id. Plaintiff Pasa is a

      recipient of a Farm and Food Workers grant.

                       Office of Urban Agriculture and Innovative Production Grants

         173. Section 1001 of the American Rescue Plan Act of 2001 appropriated $4 billion to

      USDA, directing that USDA “shall use” these funds to, among other things, “make loans and

      grants” to “maintain and improve food and agricultural supply chain resiliency.” 135 Stat. 11.

      USDA used some of these funds for Urban Agriculture and Innovative Production Grants, a

      competitive grant program designed to initiate or expand efforts of urban and suburban farmers

      to give consumers more options to buy locally produced products and reduce the climate impact

      of the food supply chain. 22 Plaintiff Pasa is a recipient of an Urban Agriculture and Innovative

   Production Grant.

II.      Plaintiffs’ Grant Agreements

         174. Each of Plaintiffs’ grants is a legally binding agreement with the government.



   21
     USDA, USDA Invests $700 million in Grants to Provide Relief to Farm and Food Workers
   Impacted by COVID-19 (Sept. 7, 2021), https://perma.cc/4USW-PEL8.
   22
     USDA, USDA Invests $14.2 Million in 52 Urban Agriculture and Innovative Production
   Efforts (Oct. 26, 2022), https://perma.cc/XZ3N-GKJS.


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      175. Before awarding a grant under the programs enumerated above, EPA, USDA and DOT

give public notice of the funding opportunity, solicit applications, 2 C. F. R. § 200.204, conduct a

“merit review process,” and only select grant “recipients most likely to be successful in

delivering results based on the program objectives,” id. § 200.205. 23

      176. To ensure that taxpayer money is well spent, federal grants involve lengthy and complex

application procedures and reporting and auditing requirements. See, e.g., 2 C. F. R. §§ 200.500–

200.521 (financial auditing requirements for federal award recipients), 200.328–200.330

(performance, financial monitoring, and reporting requirements for federal award recipients). 24

      177. Recipients of EPA, USDA, DOT and DOE grants, like Plaintiffs, are selected by the

grantor agency in this competitive process and enter into legally binding “Grant Agreements”

with the agency.

      178. In Plaintiffs’ Grant Agreements, EPA, USDA, DOT and DOE agreed to provide funding

up to a specified dollar amount, over a specified time period, for specified work advancing

Congress’s objectives for the grant program. In exchange, grantees have agreed to use grant



23
  2 C.F.R. Part 200 contains the OMB’s Uniform Administrative Requirements, Cost Principles,
and Audit Requirements for Federal Awards, which have been adopted in relevant part by EPA,
see 2 C.F.R. § 1500.2, and USDA, see 2 C.F.R. § 400.1, for grants and awards administered by
those agencies.
24
   See also EPA, Grantee Forms, https://perma.cc/CHE7-HZGS (last updated Oct. 4, 2024)
(listing dozens of forms, questionnaires, and certifications for EPA grant applicants and
recipients); EPA, General Terms and Conditions (effective Oct. 1, 2024),
https://perma.cc/3WG4-2ZLE (46-page general conditions governing EPA grant awards,
including 15-pages of post-award financial reporting and auditing requirements); EPA,
Community Change Grants Terms and Conditions, https://perma.cc/5A65-4NEX (last updated
Dec. 5, 2024) (21-page conditions governing Community Change Grants, in addition to EPA’s
General Terms and Conditions); USDA, General Terms and Conditions for Grants and
Cooperative Agreements (effective Oct. 2024), https://perma.cc/V2AT-CV5G (31-page general
conditions governing USDA grant awards, including multiple pages of post-award financial
reporting and auditing requirements).

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funds to complete their agency-approved project on an agency-approved timeline. Grantees have

also agreed to comply with lengthy terms and conditions of their award agreements, including

statutory and regulatory requirements and reporting, recordkeeping, and auditing conditions.

    179. The Grant Agreements, however, are not contracts in the sense that the Federal

Government does not receive consideration in the form of direct, tangible benefits from the

grantees’ performance. The grant funds are provided to carry out U.S. policy interests as

determined by Congress, not to provide direct, tangible benefits to the Federal Government such

as financial benefits. As the Supreme Court has noted, “[u]nlike normal contractual undertakings,

federal grant programs originate in and remain governed by statutory provisions expressing the

judgment of Congress concerning desirable public policy.” Bennett v. Ky. Dept. of Educ., 470

U.S. 656, 669 (1985).

    180. The regulations incorporated in Plaintiffs’ Grant Agreements provide that, after

awarding a grant, agencies may only “[t]emporarily withhold payments” or “[s]uspend or

terminate the Federal award in part or in its entirety” if: (i) “the recipient . . . fails to comply with

the U.S. Constitution, Federal statutes, regulations, or terms and conditions of the federal

award,” and (ii) “the Federal agency . . . determines that noncompliance cannot be remedied by

imposing specific conditions.” 2 C. F. R. § 200.339.

    181. “Specific conditions” are less drastic remedies for non-compliance that must be

exhausted before a federal agency may suspend or terminate grant funds, such as “[r]equiring

additional project monitoring” or “more detailed financial reports.” Id. § 200.208(c).

    182. When specific conditions fail to remedy non-compliance, “[u]pon initiating” a more

severe remedy such as suspension or termination of funding, “the Federal agency must provide




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    the recipient with an opportunity to object and provide information challenging the action.” Id.

    § 200.342.

          183. To date, no Plaintiffs have received notice that their grants are out of compliance.

          184. After grants are awarded, Plaintiffs do not hold the funding in their own bank accounts.

       Rather, they are allowed to withdraw money only incrementally––on an as-needed basis––from

       Government-controlled accounts. Recipients generally “must be paid in advance” for their

       expenditures made in furtherance of their grant activities. 2 C. F. R. § 200.305(b)(1). Many

       Plaintiffs also incur expenses required by their grants and withdraw reimbursements from their

       Government-controlled accounts shortly after. Federal agencies generally must provide

       reimbursement payments “within 30 calendar days after receipt of the payment request unless the

       Federal agency . . . reasonably believes the request to be improper.” Id. § 200.305(b)(3).

          185. Given this incremental process for accessing funds, even short delays in payment can

    cause great harm.

III.      The Trump Administration’s Actions to Freeze and “Terminat[e]” Grants

          a. The Executive Orders

          186. On January 20, 2025, President Trump issued an Executive Order titled “Unleashing

    American Energy.” 90 Fed. Reg. at 8353.

          187. Section 2 of the Energy EO declared several purported “polic[ies] of the United States,”

    including “to ensure that no Federal funding be employed in a manner contrary to the

    principles outlined in this section, unless required by law.” Id. § 2 (emphasis added).

          188. Section 7 of the Energy EO, titled “Terminating the Green New Deal,” further provided

    that:

              [a]ll agencies shall immediately pause the disbursement of funds appropriated
              through the Inflation Reduction Act of 2022 (Public Law 117-169) or the

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        Infrastructure Investment and Jobs Act (Public Law 117-58) . . . and shall review
        their processes, policies, and programs for issuing grants, loans, contracts, or any
        other financial disbursements of such appropriated funds for consistency with the
        law and the policy outlined in section 2 of this order.

Energy EO § 7 (emphases added). The Energy EO provides no end date for this indefinite

funding freeze.

    189. Section 7 further provides that within 90 days (i. e. , before April 20, 2025), all agency

heads must submit a report detailing their review and recommendations to “enhance their

alignment with the policy set forth in section 2.” Critically, the Energy EO directs that “[n]o

funds” blocked under the Order “shall be disbursed” unless the Director of OMB and Assistant to

the President for Economic Policy determine that such payments “are consistent with any review

recommendations they have chosen to adopt.” Id.

    190. President Trump thus directed that over $1 trillion in funding appropriated by Congress

for specific purposes under the IRA and IIJA, including billions of dollars in project awards that

had already been obligated to specific recipients by executive agencies, should be immediately

frozen. The Energy EO forbids the disbursement of any funds that the Executive branch deems

“[in]consistent[t] with . . . the policy outlined in section 2” of the Order. Id. § 7.

    191. The Energy EO cited no legal authority for its across-the-board freeze of

congressionally appropriated funds.

    192. The Energy EO did not distinguish between obligated and non-obligated funds

appropriated under the IRA or IIJA, simply blocking all “disbursements” across the board. Id

    193. Also on January 20, 2025, President Trump issued an Executive Order titled “Ending

Radical and Wasteful Government DEI Programs and Preferencing.” Exec. Order 14151, 90 Fed.

Reg. 8339, 8339 (Jan. 20, 2025),




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   194. The Equity EO directed agencies to “terminate . . . all . . . ‘equity-related’ grants or

contracts” within sixty days, i.e., by March 21, 2025, among other directives. Id. § 2(b)

(emphasis added). The Equity EO also purported to eliminate prior directives requiring agencies

to consider equity in their federal funding decisions.

   195. The Equity EO did not define “equity-related” grants or environmental justice.

   196. The Equity EO cited no legal authority to categorically terminate all “equity-related”

grants and contracts.

   197. The Equity EO did not follow the procedures required by EPA’s grant agreements and

regulations prior to suspending or terminating funding.

    198. The DOGE EO, issued on February 26, 2025, instructed agencies, “in consultation with

the agency’s DOGE Team Lead,” to “review all existing covered contracts and grants” and to

“terminate or modify” those contracts and grants to “advance the policies of [the Trump]

Administration.” 90 Fed. Reg. 11095 § 3(b).

   199. On March 3, 2025, EPA sent an email instructing all agency directors that “any

assistance agreement, contract, or interagency agreement transaction $50,000 or greater must

receive approval from an EPA DOGE Team member.” Ex. G.

   200. The DOGE EO and EPA Notice of DOGE Approval Requirement did not identify or

consider how much funding would be frozen, terminated, or subject to this approval requirement

nor which programs or recipients would be affected.

   201. The DOGE EO and EPA Notice of DOGE Approval Requirement did not identify any

legal authority in any federal law, grant award, or the Constitution to freeze, terminate, or

withhold funds based on Presidential policies or pending DOGE review.




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    b. The Program Freezing Directives

    202. Since January 20, 2025, executive branch agencies have taken multiple unlawful actions

to effectuate the Executive Orders.

      i. The First OMB Memo

    203. On January 21, 2025, the Acting Director of the OMB issued a memorandum to agency

and department heads numbered M-25-11 and titled “Guidance Regarding Section 7 of the

Executive Order Unleashing American Energy.” Ex. A.

    204. The First OMB Memo notifies agency and department heads of the “directive in Section

7 of the [Energy EO],” which “requires agencies to immediately pause disbursements of funds

appropriated under the [IRA and IIJA].” Id.

    205. The Memo interprets the IRA and IIJA funding freeze in Section 7 of the Energy EO to

apply “only . . . to funds supporting programs, projects, or activities that may be implicated by

the policy established in Section 2 of the order,” which “is consistent with Section 7’s heading

(‘Terminating the Green New Deal’) and its reference to the ‘law and policy outlined in section 2

of the order. ’” Id.

    206. The Memo states that the funds to be blocked are “any appropriations for objectives

that contravene the policies established in section 2.” Id. (emphasis added). “Agency heads may

disburse funds as they deem necessary after consulting with the Office of Management and

Budget.” Id.

    207. The First OMB Memo thus directs agencies to freeze all IRA and IIJA funds that they

deem to contravene President Trump’s policies.

    208. The Memo does not identify or consider how much funding would be frozen or which

programs or recipients would be affected.



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      209. The Memo does not identify any legal authority in any federal law, grant award, or the

Constitution to block funds on this basis.

       ii. The Second OMB Memo

      210. On January 27, the Acting Director of the OMB issued a second memorandum to

agency and department heads numbered M-25-13 and titled “Temporary Pause of Agency Grant,

Loan, and Other Financial Assistance Program.” Ex. B.

      211. The Second OMB Memo asserted that President Trump’s election “gave him a

mandate” to “align Federal spending and action with the will of the American people as

expressed through Presidential priorities.” Id. at 1 (emphasis added).

      212. The Memo stated that “[f]inancial assistance should be dedicated to advancing

Administration priorities,” including “unleashing American energy and manufacturing, ending

‘wokeness’ and the weaponization of government,” and halting “[t]he use of Federal resources to

advance Marxist equity, transgenderism, and new green deal social engineering policies.” Id.

      213. To that end, the Second OMB Memo directed federal agencies to “complete a

comprehensive analysis of all of their Federal financial assistance programs to identify programs,

projects, and activities that may be implicated by any of the President’s executive orders,” citing

seven such orders 25 issued by the Trump Administration, including the Energy EO and Equity

EO. Id. at 1–2.




25
  Specifically, the Second OMB Memo cites: Protecting the American People Against Invasion
(Jan. 20, 2025); Reevaluating and Realigning United States Foreign Aid (Jan. 20, 2025); Putting
America First in International Environmental Agreements (Jan. 20, 2025); Unleashing American
Energy (Jan. 20, 2025); Ending Radical and Wasteful Government DEI Programs and
Preferencing (Jan. 20, 2025), Defending Women from Gender Ideology Extremism and Restoring
Biological Truth to the Federal Government (Jan. 20, 2025), and Enforcing the Hyde Amendment
(Jan. 24, 2025).

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   214. The Memo stated that, “[i]n the interim, to the extent permissible under applicable law,

Federal agencies must temporarily pause all activities related to obligation or disbursement of

all Federal financial assistance, and other relevant agency activities that may be implicated by

the executive orders, including, but not limited to, financial assistance for foreign aid,

nongovernmental organizations, DEI, woke gender ideology, and the green new deal.” Id. at 2

(emphasis in original).

   215. After a federal district court issued an administrative stay of the Second OMB Memo,

OMB retracted the Memo “in name only” to “evade[e] judicial review” while continuing to

implement the underlying funding federal funding freeze. Nat’l Council of Nonprofits v. Office of

Mgmt. & Budget, No. 25-cv-239, 2025 WL 368852, at *7 (D. D. C. Feb. 3, 2025).

     iii. The EPA Memo

   216. Also on January 27, EPA’s Acting Chief Financial Officer issued a memorandum to staff

titled “Inflation Reduction Act and Infrastructure Investment and Jobs Act Funding Action

Pause.” Ex. B.

   217. The EPA Memo was “provided based on instructions from OMB” and “[i]n accordance

with the Executive Order Unleashing American Energy.” Id.

   218. The EPA Memo ordered an indefinite freeze of: (i) “unobligated funds appropriated by

the [IRA and IIJA],” and (ii) “disbursements for unliquidated obligations funded by any line of

accounting including funds appropriated by the [IRA and IIJA].” Id. The freeze of IRA and IIJA

funds would “allow for the review of processes, policies and programs as required by Section 7

of the [Energy EO].” Id.




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   219. The EPA Memo, unlike the First OMB Memo, extended the funding freeze to all IRA

and IIJA funds, not only those deemed contrary to the policies set out in Section 2 of the Energy

EO.

   220. The EPA memo further specified that the freeze applied even to “obligat[ed]” funds not

yet paid out to recipients.

   221. Like the preceding memos and Executive Orders, the EPA Memo did not clarify which

programs or recipients would be affected and cited no legal authority for the freeze.

      iv. The USDA Directive

   222. On January 22, 2025, USDA advised grantees that “[a]s of late yesterday, January 21,

2025, the administration placed a temporary suspension on all actions related to grants, including

Partnerships for Climate-Smart Commodities grants.” Ex. C at 2.

   223. Later that same day, USDA notified grantees of “additional guidance from the USDA

Office of the Chief Financial Officer’s office on the temporary suspension of all USDA actions

related to grants, including Partnerships for Climate-Smart Commodities grants.” Ex. C at 4.

USDA stated that “payments or claims may continue to be processed under existing awards,

provided that they are not funded using IRA and IIJA funding sources. Additional guidance

related to IIJA and IRA funds will be provided by [USDA officials] when available.” Id. at 4

(emphasis added).

   224. In a February 20, 2025 press release, USDA referred to a funding “pause[] due to the

review of funding in the Inflation Reduction Act (IRA).” The press release stated that $20

million––out of the billions of dollars in IRA funding administered by USDA––would be

unfrozen “as USDA continues to review IRA funding” for consistency with the priorities of the

Administration. Ex. C at 6–7.



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      v. The DOT Directives

225. On January 29, 2025, Secretary of Transportation Sean Duffy issued a memorandum to

DOT staff stating that, pursuant to the Executive Orders, the agency must “identify and eliminate

all . . . funding agreements . . . or portions thereof, which were authorized, adopted, or approved

[during the Biden Administration] and which reference or relate in any way to climate change,

‘greenhouse gas’ emissions, racial equity, gender identity, ‘diversity, equity, and inclusion’ goals,

environmental justice, or the Justice 40 Initiative.” Ex. H at 2 (“DOT Secretary’s Directive”).

226. The DOT Secretary’s Directive gave staff 20 days (i.e., until February 18) to “initiate all

lawful actions necessary to rescind, cancel, revoke, and terminate all DOT . . . funding

agreements, programs, . . . or portions thereof, which are subject to the relevant executive orders

and which are not required by clear and express statutory language.” Id.

   227. On March 12, 2025, the United States Department of Transportation Secretary, Sean

Duffy, ordered a “review” of “projects announced from FY 2022 through FY 2025” to “identify

project scope and activities that are allocating funding to advance climate, equity, and other

priorities counter to the Administration’s Executive Orders.” Ex. F at 1.

   228. Specifically, the DOT Memo directed the agency to identify award selections that

include any of the following elements: “equity activities, Diversity, Equity, and Inclusion (DEI)

activities, climate change activities, environmental justice (EJ) activities, gender-specific

activities, when the primary purpose is bicycle infrastructure (i.e., recreational trails and shared-

use paths, etc.), electric vehicles (EV), and EV charging infrastructure.” Id.

   229. Further, the DOT Memo directed “project-by-project” review to identify “for potential

removal” any Programs that have “[s]tatutory language” that includes equity requirements,




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climate considerations, or bicycle infrastructure or “mandatory evaluation criteria” that includes

“equity and/or climate requirements.” Id.

    230. Upon review, the memo instructs that DOT would identify which project selections

should either continue, be revised with a reduced or modified scope, or be cancelled entirely.

The DOT Memo contemplates that project sponsors may propose alternative elements as

substitutes, as long as hose elements “align with current Administration EOs.” Id.

    231. The DOT Memo did not identify or consider how much funding would be frozen,

terminated, or subject to this approval requirement nor which programs or recipients would be

affected.

    232. The DOT Memo did not identify any legal authority in any federal law, grant award, or

the Constitution to freeze, terminate, or withhold funds based on Presidential policies.

     vi. The DOE Memo

    233. On January 20, 2025, Acting Secretary of Energy, Ingrid Kolb ordered a broad review of

DOE actions, including “Funding Actions.” The memo directed that “[a]ll funding and financial

assistance activities including . . . grants . . . shall not be announced, approved, finalized,

modified, or provided until a review of such takes place to ensure compliance with

Congressional Authorization and Administration policy.” Ex. I at 2.

    234. The memo further directed that such “[s]uch approvals will be made in writing by the

Secretary (acting) or the program head with the prior approval of the Secretary (acting).”

    235. The DOE Memo did not identify or consider how much funding would be affected by

this approval requirement nor which programs or recipients would be affected.

    236. The DOE Memo did not identify any legal authority in any federal law, grant award, or

the Constitution to freeze, terminate, or withhold funds based on Presidential policies.


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          vii. Further Agency Actions to Freeze Program Funding

         237. EPA, USDA, DOT and DOE have undertaken various actions consistent with the

   Executive Orders, the First OMB Memo, the EPA Memo, and the USDA Directive to freeze the

   funding programs at issue in this case and prevent Plaintiffs from carrying out their grants and

   accessing their grant funds.

         238. For example, EPA, USDA, DOT and DOE have blocked Plaintiffs’ access to the

   websites and portals needed to access funds, frozen or labeled as “suspended” the accounts

   containing the grant funds to prevent Plaintiffs from drawing down funds, informed Plaintiffs

   orally that funds are frozen and cannot be drawn down, and communicated through state

   agencies that expenditures may not be reimbursed, usually with no explanation or justification.

IV.      Court Orders Against the Funding Freeze and Subsequent Agency Actions

         239. Despite clear court orders to stop action, Defendants have defied the rule of law and

   continued to freeze funding.

         240. Two federal courts have issued temporary restraining orders and preliminary injunctions

      against the across-the-board funding freeze effectuated by the now-rescinded Second OMB

   Memo, finding that plaintiffs have shown a likelihood of success on their separation-of-powers

  and APA claims, and a likelihood of irreparable harm in the absence of preliminary relief. See

  New York v. Trump, No. 25-cv-39, 2025 WL 357368, at *5 (D. R. I. Jan. 31, 2025) (temporary

  restraining order), appeal filed, No. 25-1138 (1st Cir. Feb. 10, 2025); Nat’l Council of

  Nonprofits, No. 25-cv-239, 2025 WL 368852, at *14 (D. D. C. Feb. 3, 2025) (temporary

  restraining order); Nat’l Council of Nonprofits v. Office of Mgmt. & Budget, No. 25-cv-239, 2025

  WL 597959, at *19–20 (D. D. C. Feb. 25, 2025) (preliminary injunction); New York v. Trump,




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No. 25-cv-39-JJM-PAS, 2025 WL 715621 at *1 (D. R. I. Mar. 6. 2025) (preliminary injunction),

appeal filed, No. 25-1236 (1st Cir. Mar. 10, 2025).

      241. Despite these orders, Defendants continue to engage in the freezing actions discussed

above in paragraph 9.

      242. In court and within agencies, the Administration has relied on an ever-shifting set of

funding freeze directives and communications to evade complying with court orders. The

Government has also taken the position that injunctions are limited to named defendants and the

grants held by named plaintiffs, leaving large swaths of the unlawful freeze in place and grantees

unprotected.

      243. For example, PoliticoPro reported on the Administration’s position that a “spending

pause” announced by EPA on February 7 that “applied to more than two dozen EPA climate and

infrastructure programs” is a “new” freeze and “separate from President Donald Trump’s

broader spending freeze that has been blocked by the courts.” 26

      244. On February 19, the New York Times reported that USDA budget officers received an

email with a “halt spending flowchart” which “flatly declared that certain spending Congress had

approved, including through the Biden-era Inflation Reduction Act and the bipartisan

Infrastructure Investment and Jobs Act, should be frozen . . . . ‘Do not obligate or outlay,’ the

flowchart said, citing no specific legal authorities.” 27




26
  Alex Guillén, EPA says spending halt for climate, infrastructure law programs is different from
Trump freeze, PoliticoPro (Feb. 11, 2025) (emphasis added), https://perma.cc/G5MJ-5QD8.
27
  Charlie Savage, Trump Team Finds Loophole to Defy Spirit of Court Orders Blocking
Spending Freezes, New York Times (Feb. 19, 2025) (emphasis added), https://perma.cc/7GRD-
PSY7.


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   245. Upon information and belief, EPA may also be using a flowchart (reproduced below) to

freeze or cancel “equity-related” grants based on the presence of certain arbitrary keywords in

grant documents, such as “advocate,” “diverse community,” “equality,” “equity,” “inequality,”

“racism,” or “socioeconomic,” among others. Ex. J (“EPA Flowchart for ‘Equity-Related’

Grants”).




   246. On March 3, EPA sent an email instructing staff that they “must complete and sign the

attached [Executive Order] Compliance Review form for all funding actions.” Ex. E (emphasis

added). This form requires relevant EPA staff, before funding may be disbursed, to

“demonstrate[] the signer understands and confirms the action and associated workplan or

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performance work statement complies with [Executive Order requirements] at the time of

signature.” Ex. E (emphasis added).

    247. Upon information and belief OMB, EPA, USDA, DOT, DOGE, and other agencies are

continuing to freeze IRA, IIJA, and “equity-related” funding despite these court orders.

                                    LEGAL FRAMEWORK

I. Congress’s Legislative Authority, Including the Power of the Purse, and the Separation
   of Powers

    248. The United States Constitution grants Congress the power to make the laws of this

nation. The Constitution provides that “[a]ll legislative Powers herein granted shall be vested in a

Congress of the United States, which shall consist of a Senate and a House of Representatives.”

Art. I, § 1.

    249. Congress’s lawmaking powers are at their apex on matters of federal funding. The

Constitution grants the power of the purse to Congress, not the President. See, e.g., Consumer

Fin. Prot. Bureau v. Cmty. Fin. Servs. Ass’n of Am. Ltd., 601 U.S. 416, 420 (2024); see also

Mem. from John G. Roberts, Jr. to Fred F. Fielding (Aug. 15, 1985), https://perma.cc/G5AA-

GJAU (“[N]o area seems more clearly the province of Congress than the power of the purse.”).

    250. In our system of governance, this power is “exclusive” to Congress, which “has absolute

control of the moneys of the United States” under our Constitution. Rochester Pure Waters Dist.

v. EPA, 960 F. 2d 180, 185 (D. C. Cir. 1992) (internal citation and quotations omitted). “Any

exercise of a power granted by the Constitution to one of the other branches of Government is

limited by a valid reservation of congressional control over funds in the Treasury.” Off. of Pers.

Mgmt. v. Richmond, 496 U.S. 414, 425 (1990).

    251. Congress’s power over the purse is rooted in two constitutional provisions. The

Appropriations Clause provides that “[n]o Money shall be drawn from the Treasury, but in

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Consequence of Appropriations made by Law.” Art. I, § 9, cl. 7. The Appropriations Clause

expressly “was intended as a restriction upon the disbursing authority of the Executive

department.” Cincinnati Soap Co. v. United States, 301 U.S. 308, 321 (1937).

    252. The Spending Clause provides that “Congress shall have Power To lay and collect

Taxes, Duties, Imposts and Excises, to pay the Debts and provide for the common Defense and

general Welfare of the United States.” Art. I, § 8, cl. 1.

    253. Through these multiple grants of authority, the Constitution gives Congress broad power

to legislate spending and to decide how and when its appropriations are spent. South Dakota v.

Dole, 483 U.S. 203, 206 (1987).

    254. When Congress passes a law appropriating money for a particular purpose, it is the

President’s job to spend that money for that purpose. This duty stems from the Take Care Clause,

which states that the President “shall take Care that the Laws be faithfully executed.” U.S. Const.

art. II, § 3; Utility Air Reg. Grp. v. Env’t Prot. Agency, 573 U.S. 302, 327 (2014) (“Under our

system of government, Congress makes laws and the President . . . ‘faithfully execute[s]’

them.”).

   255. “[A] President sometimes has policy reasons . . . for wanting to spend less than the full

amount appropriated by Congress for a particular project or program. But in those circumstances,

even the President does not have unilateral authority to refuse to spend the funds.” In re Aiken

Cnty., 725 F. 3d 255, 261 n. 1 (D.C. Cir. 2013) (Kavanaugh, J.).

    256. Nor does the President “have the inherent authority . . . to condition the payment of []

federal funds on adherence to its political priorities.” City of Chicago v. Sessions, 888 F. 3d 272,

283 (7th Cir. 2018), vacated in part on other grounds, No. 17-2991, 2018 WL 4268817 (7th Cir.

June 4, 2018). Where the Executive withholds funding “to effectuate its own policy goals”



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without authorization from Congress, it violates the Constitution. City & Cnty. of S. F. v. Trump,

897 F. 3d 1225, 1235 (9th Cir. 2018).

   257. If a President disagrees with Congress’s spending decision, he can veto the legislation;

but once a spending law has passed, the President has a simple duty to spend the money on the

terms Congress has provided. See Train v. City of New York, 420 U.S. 35, 40–44 (1975).

   258. The President has no constitutional power to amend or repeal statutes, Clinton v. City of

N. Y., 524 U.S. 417, 438 (1998) and doubly lacks the power to supplant Congress’s spending

directives with his own.

   259. When a President intrudes on Congress’s power over the purse, he violates the

separation of powers. “Congress’s power of the purse is the ultimate check on the otherwise

unbounded power of the Executive,” U.S. House of Reps. v. Burwell, 130 F. Supp. 3d 53, 76 (D.

D. C. 2015), and acts as a “bulwark of the Constitution’s separation of powers.” U.S. Dep’t of

Navy v. Fed. Labor Rel. Auth., 665 F. 3d 1339, 1347 (D. C. Cir. 2012). Allowing the President to

usurp this power “would be clothing the President with a power entirely to control the legislation

of congress, and paralyze the administration of justice.” Kendall v. U.S. ex rel. Stokes, 37 U.S.

524, 613 (1838).

   260. “Liberty is always at stake when one or more of the branches seek to transgress the

separation of powers.” Clinton, 524 U.S. at 450 (Kennedy, J., concurring). Nowhere is this more

apparent than when a President attempts to unilaterally seize the Nation’s purse strings to serve

his policy goals.

II. The Presentment Clauses

   261. The Presentment Clauses form equally “integral parts of the constitutional design for the

separation of powers.” Immigr. & Naturalization Serv. v. Chadha, 462 U.S. 919, 946 (1983).



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    262. These Clauses provide that “[e]very Bill which shall have passed the House of

Representatives and the Senate, shall, before it becomes a Law, be presented to the President of

the United States,” and that “before [a law] shall take Effect, [it] shall be approved by [the

President], or being disapproved by him, shall be repassed by two thirds of the Senate and House

of Representatives, according to the Rules and Limitations prescribed in the Case of a Bill.” U.S.

Const. art. I, § 7, cl. 2–3.

    263. The Presentment Clauses grant the President “a limited and qualified power to nullify

proposed legislation by veto.” Chadha, 462 U.S. at 947. This “finely wrought and exhaustively

considered” constitutional procedure precludes by implication the President’s power “to enact, to

amend, or to repeal statutes” in any other way. Clinton, 524 U.S. at 438–40 (quoting Chadha,

462 U.S. at 951).

    264. The Constitution’s careful limitations on the President’s role in lawmaking are designed

to protect the people from tyranny. See Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579,

633 (1952) (Douglas, J., concurring) (“The Framers with memories of the tyrannies produced by

a blending of executive and legislative power rejected that political arrangement.”).

III. The First Amendment

    265. The First Amendment provides that the Government “shall make no law . . . abridging

the freedom of speech.” U.S. Const. amend. I. This protection extends to both individual and

organizational expression, and the government may not restrict speech based on its content or

viewpoint. Laws or policies that target speech based on its subject matter or the viewpoint

expressed are presumptively unconstitutional and subject to strict scrutiny. Rosenberger v. Rector

& Visitors of Univ. of Va., 515 U.S. 819, 828–29 (1995).




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   266. Government actions that limit speech must be the least restrictive means of achieving a

compelling state interest. Americans for Prosperity Found. v. Bonta, 594 U.S. 595, 607 (2021).

   267. Furthermore, the government cannot condition benefits or financial assistance on the

suppression of constitutionally protected speech, especially when such a denial of support is

based on the viewpoint or content of the expression. Speiser v. Randall, 357 U.S. 513, 518

(1958).

IV. The Impoundment Control Act

   268. The Impoundment Control Act of 1974 (“ICA”) sets forth very limited circumstances in

which the President or an agency may “defer” or “rescind” congressionally appropriated funds.

   269. Under the ICA, a “deferral” encompasses any “withholding or delaying the obligation or

expenditure of” appropriated funds, as well as “any other type of Executive action or inaction

which effectively precludes the obligation or expenditure of” appropriated funds. 2 U.S.C. §

682(1). A deferral thus includes both delays in obligating funds and delays in disbursing funds

that are already obligated.

   270. When the Executive Branch wishes to defer funds, it must send a special message to

Congress detailing the money to be deferred and must set forth one of only three permissible

grounds for the deferral. The three permissible grounds for deferrals are: (1) “to provide for

contingencies” (which generally means keeping a small cushion in case obligations end up

costing more than anticipated); (2) “to achieve savings made possible by or through changes in

requirements or greater efficiency of operations;” or (3) “as specifically provided by law.” 2

U.S.C. § 684(b).

   271. The Government Accountability Office (“GAO) has held that “policy reasons,”

including efforts to ensure funds are spent consistent with the President’s policy preferences, are



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not a proper basis for deferrals. GAO, Office of Management and Budget—Withholding of

Ukraine Security Assistance, B-331564, at 6 (Jan. 16, 2020).

   272. Where the president seeks to have appropriated funds “rescinded,” the ICA requires that

the President send a special message to Congress specifying the funds he seeks to have Congress

rescind and the reasons for his proposal. 2 U.S.C. § 683(a). The Administration can withhold

obligating the relevant funds for 45 session days after the President transmits his message, but if

Congress does not rescind the funds in that time, the Administration must make the funds

available for obligation.

   273. There is an exception to the ICA for so-called “programmatic delays,” which are not

prohibited by the Act. GAO has explained that “programmatic delays occur when an agency is

taking necessary steps to implement a program, but because of factors external to the program,

funds temporarily go unobligated.” B-331564, at 7. Programmatic delays are meant “to advance

congressional budgetary policies by ensuring that congressional programs are administered

efficiently.” City of New Haven v. United States, 809 F. 2d 900, 901 (D.C. Cir. 1987). Permissible

programmatic delays do not include when the Executive Branch withholds money “on its own

volition . . . to ensure compliance with presidential policy prerogatives.” B-331564, at 7.

   274. Thus, in addition to requiring an agency to spend appropriated money before it expires,

the ICA also prohibits delays in spending funds based on policy objections.

V. The Administrative Procedure Act

   275. Congress enacted the APA to ensure stability in agency action by mandating reasoned

decisionmaking, and to guard against agencies’ pursuit of a political agenda without adherence to

legal process. See N. C. Growers’ Ass’n, Inc. v. United Farm Workers, 702 F. 3d 755, 772 (4th

Cir. 2012) (Wilkinson, J., concurring) (noting the APA prohibits policy change based on



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“political winds and currents” without adherence to “law and legal process”); U.S. v. Morton Salt

Co., 338 U.S. 632, 644 (1950) (describing the APA “as a check upon administrators whose zeal

might otherwise have carried them to excesses not contemplated in legislation creating their

offices”).

    276. To effectuate these goals, the APA imposes both substantive and procedural constraints

on final agency action. See Cent. Tex. Telephone Coop., Inc. v. Fed. Comms. Comm’n, 402 F. 3d

205, 209 (D.C. Cir. 2005). As to the former, the APA requires courts to set aside agency action

that is “not in accordance with law,” “in excess of statutory jurisdiction, authority, or limitations,

or short of statutory right,” or “contrary to constitutional right, power, privilege, or immunity.” 5

U.S.C. § 706(2)(A), (B), (C).

    277. The APA tasks courts––not the Executive––with “deciding whether an agency has acted

within its statutory authority,” Loper Bright Enters. v. Raimondo, 603 U.S. 369, 412 (2024),

reflecting the duty of the judiciary “to say what the law is.” Marbury v. Madison, 5 U.S. (1

Cranch) 137, 177 (1803).

    278. As to process, “[t]he [APA] requires that the pivot from one administration’s priorities

to those of the next be accomplished with at least some fidelity to law and legal process.

Otherwise, government becomes a matter of the whim and caprice of the bureaucracy . . . .” N.

C. Growers’ Ass’n, 702 F. 3d at 772 (Wilkinson, J., concurring); accord S. C. Coastal

Conservation League v. Pruitt, 318 F. Supp. 3d 959, 967 (D. S. C. 2018) (same) (quoting id.).

    279. To enforce these principles, the APA requires courts to “hold unlawful and set aside

agency action, findings, and conclusions found to be . . . arbitrary, capricious,” an abuse of

discretion,” or “without observance of procedure required by law.” 5 U.S.C. § 706(2)(A), (D).




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    280. An agency fails to engage in “reasoned decisionmaking,” and its actions are arbitrary

and capricious, when the agency “has relied on factors which Congress has not intended it to

consider, [or] entirely failed to consider an important aspect of the problem . . . .” Motor Vehicle

Mfrs. Ass’n of U.S. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). Courts “must

ensure that the agency has examined the relevant data and articulated a satisfactory explanation

for its action,” Def ’s of Wildlife v. U.S. Dep’t of Interior, 931 F. 3d 339, 345 (4th Cir. 2019)

(internal quotation omitted), “including a rational connection between the facts found and the

choice made.” Dep’t of Commerce v. New York, 588 U.S. 752, 773 (2019) (quoting State Farm,

463 U.S. at 43).

    281. When an agency is not writing on a “blank slate” but is “changing [its] position,” the

agency must “provide a more detailed justification than what would suffice for a new policy” if,

“for example, . . . its prior policy has engendered serious reliance interests that must be taken

into account.” F. C. C. v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009).

    282. When changing policy, agencies must “assess whether there were reliance interests,

determine whether they were significant, and weigh any such interests against competing policy

interests.” Dep’t of Homeland Sec. v. Regents of Univ. of Cal., 591 U.S. 1, 33(2020). “[W]hen an

agency rescinds a prior policy its reasoned analysis must [also] consider the alternatives that are

within the ambit of the existing policy.” Id. at 30 (citation and quotations omitted). At bottom, an

agency must give “good reasons for the new policy,” Encino Motorcars, LLC v. Navarro, 579

U.S. 211, 223 (2016) (citation and quotations omitted), including “a reasoned explanation . . . for

disregarding facts and circumstances that underlay or were engendered by the prior policy.” Fox,

556 U.S. at 516.




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   283. Judicial review under the APA is limited to agency actions made reviewable by statute

and “final agency action.” 5 U.S.C. § 704. Agency action, including agency memoranda, are

“final agency action” when they “‘mark[]’ the ‘consummation’ of the agency’s decisionmaking

process’ and result[] in ‘rights and obligations being determined. ’” Biden v. Texas, 597 U.S. 785,

788 (2022) (quoting Bennett v. Spear, 520 U.S. 154, 178 (1997) (alterations omitted)).

   284. In sum, “[t]he role of the reviewing court under the APA is . . . . fixing the boundaries of

the delegated authority, and ensuring the agency has engaged in ‘reasoned decisionmaking’

within those boundaries.” Loper Bright Enters., 603 U.S. at 395 (citation and quotations

omitted).

VI. Nonstatutory Review Claims and Ultra Vires Actions

   285. Separate from the APA, “a plaintiff can obtain injunctive relief against an individual

officer or agent of the United States in his official capacity for acts beyond his statutory or

constitutional authority.”’ Strickland v. United States, 32 F. 4th 311, 363 (4th Cir. 2022).

   286. Such “nonstatutory review” or “ultra vires” claims arise when federal officials have

acted “beyond the scope of their powers and/or in an unconstitutional manner.” Id. at 366.

   287. Sovereign immunity does not shield federal officials from such claims because actions

beyond statutory or constitutional authority “are considered individual and not sovereign

actions.” Id. (quoting Larson v. Domestic & Foreign Commerce Corp., 337 U.S. 682, 689

(1949)).

                                     CLAIMS FOR RELIEF

                                ––COUNT I––
                      THE ENERGY EO, EQUITY EO, DOGE EO,
                       AND PROGRAM FREEZING ACTIONS
                      VIOLATE THE SEPARATION OF POWERS
                 NONSTATUTORY REVIEW AND ULTRA VIRES ACTION


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                                             (All Plaintiffs 28)

      288. The allegations in the preceding paragraphs are incorporated herein by reference.

      289. “[W]henever a separation-of-powers violation occurs, any aggrieved party with standing

may file a constitutional challenge.” Collins v. Yellen, 594 U.S. 220, 245 (2021).

      290. The U.S. Constitution grants Congress, not the President, exclusive power over the

nation’s purse and the power to legislate. U.S. Const. art. I, § 9, cl. 7; art. I, § 8, cl. 1; art. I, § 1.

      291. When Congress appropriates funds for a specified purpose, the President has a duty to

spend those funds on the terms set by Congress. See U.S. Const. art. II, § 3 (Take Care Clause).

      292. The President has no constitutional power to freeze funds appropriated by Congress,

particularly when the freeze is based on Presidential policies rather than Congress’s spending

directives. E.g., City & Cnty. of S. F., 897 F. 3d at 1231–35.

      293. Congress has enacted the federal grant programs at issue in this case under the IRA and

the IIJA and has appropriated over $1 trillion in funding for those programs to serve enumerated

purposes specified in these statutory programs.

      294. Consistent with their constitutional and statutory duties, federal agencies obligated these

funds to specific entities via a rigorous, regulated, and competitive grantmaking process.

      295. Defendants are constitutionally required to carry out these congressionally mandated

programs, and to obligate and distribute the funds that Congress appropriated for these programs.

      296. But in the Energy EO, Equity EO, and DOGE EO President Trump directed that federal

funding be paused or terminated if it was inconsistent with his own policies.




28
  Baltimore joins this claim only as to the Energy EO, Cost Efficiency EO, agency actions
implementing those two EOs, and agency actions based on EPA’s and USDA’s independent
authorities. See supra footnote 1.


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   297. The President’s Executive Orders, and the Program Freezing Actions implementing

those Orders, directly contravene Congress’s directives in the IRA, IIJA, and other statutes to

carry out and fund the statutory programs at issue in this case. See, e.g., 42 U.S.C. § 7438(b)(1)

(IRA “Environmental and Climate Justice Block Grants” program, directing that EPA “shall”

award grants for certain activities “that benefit disadvantaged communities”); IRA, § 22007, 136

Stat. at 2022 (directing that USDA “shall” award grants for “USDA Assistance and Support for

Underserved Farmers, Ranchers [and] Foresters” and those “determined to have experienced

discrimination . . . in Department of Agriculture farm lending programs”); see also 33 U.S.C.

§ 1302f(c)(4)(A)(ii) (IIJA, requiring that EPA “shall” give priority to grant applications

submitted on behalf of “a small, rural, or disadvantaged community”).

   298. None of the Executive Orders nor the Program Freezing Actions point to any statutory,

regulatory, or constitutional authority to indefinitely freeze congressionally appropriated funds

based on the President’s policy preferences.

   299. All the relevant constitutional powers here––the power to appropriate, spend, and

legislate––belong solely to Congress. The President has no constitutional power to indefinitely

freeze funds appropriated by Congress, much less based on policies that conflict with what

Congress specified.

   300. The Energy EO, Equity EO, DOGE EO, and Program Freezing Actions—including the

First OMB Memo, Second OMB Memo, EPA Memo, USDA Directive, DOT memo, DOE

Memo, EPA Notice of DOGE Approval Requirement, EPA Executive Order Compliance Review

Requirement, and any other agency action to freeze or block IRA, IIJA, or “equity-related”

funding based on President Trump’s priorities––usurp Congress’s spending power, see U.S.

Const. art. I, § 8, cl. 1 (Spending Clause), art. I, § 9, cl. 7 (Appropriations Clause), and



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Congress’s power to legislate, see U.S. Const. art. I, § 1 (Legislative Power), and thus violate the

separation of powers.

                                 ––COUNT II––
                       THE ENERGY EO, EQUITY EO, DOGE EO,
                        AND PROGRAM FREEZING ACTIONS
                       VIOLATE THE PRESENTMENT CLAUSES
                  NONSTATUTORY REVIEW AND ULTRA VIRES ACTION
                                 (All Plaintiffs 29)

      301. The allegations in the preceding paragraphs are incorporated herein by reference.

      302. The Presentment Clauses limit the President’s role in lawmaking to vetoing an “entire

bill . . . before the bill becomes law.” Clinton, 524 U.S. at 439. “Presidential action that either

repeals or amends parts of duly enacted statutes” violates the Presentment Clauses. See id.

(emphasis added).

      303. The Energy EO, Equity EO, and DOGE EO violate the Presentment Clauses to the

extent they seek to “terminat[e]” or “modify” parts of the IRA or IIJA and other relevant statutes

after they were passed by Congress and signed by the President. See Energy EO § 7; Equity EO §

2(b); DOGE EO § 3(b).

      304. In purpose and in effect, the Energy EO, Equity EO, and DOGE EO amend the spending

provisions of the IRA and the IIJA and other statutes, indefinitely suspending funding

appropriated under these statutes, and unlawfully terminating the programs mandated by

Congress, that the Executive Branch deems incompatible with presidential policies wholly

different than Congress’s directives for the funds and programs. See supra ¶¶ 186–247.




29
  Baltimore joins this claim only as to the Energy EO, Cost Efficiency EO, agency actions
implementing those two EOs, and agency actions based on EPA’s and USDA’s independent
authorities. See supra footnote 1.


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      305. Like the “line item veto” in Clinton, the Energy EO, Equity EO, and DOGE EO

“cancel” Congress’s spending priorities expressed in duly enacted statutes and replace them with

those of the President. 524 U.S. at 436. The President lacks power to amend enacted law, as do

his agencies.

      306. By cancelling Congress’s spending directives and replacing them with the President’s

policy preference to withhold appropriated funds, the Energy EO, Equity EO, and DOGE EO

seek to repeal and amend the IRA and the IIJA in violation of the Presentment Clauses. See U.S.

Const. Art. I, § 7, cl. 2–3.

      307. For these same reasons, the Program Freezing Actions––including the First OMB

Memo, Second OMB Memo, EPA Memo, USDA Directive, DOT Memo, DOE Memo, EPA

Notice of DOGE Approval Requirement, EPA Executive Order Compliance Review

Requirement, and any other agency action implementing the Executive Orders to freeze or block

IRA and the IIJA or “equity-related” funding based on President Trump’s priorities––also violate

the Presentment Clauses.

                                     ––COUNT III––
                         THE PROGRAM FREEZING ACTIONS ARE
                             ARBITRARY AND CAPRICIOUS
                               IN VIOLATION OF THE APA
                                     (All Plaintiffs 30)

      308. The allegations of the preceding paragraphs are incorporated herein by reference.




30
  Baltimore joins this claim only as to agency actions implementing the Energy EO and Cost
Efficiency EO, and agency actions based on EPA’s and USDA’s independent authorities. See
supra footnote 1.


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   309. The APA requires courts to “hold unlawful and set aside agency action” that is

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C.

§ 706(2)(A).

   310. The Program Freezing Actions, including the First OMB Memo, Second OMB Memo,

EPA Memo, USDA Directive, DOT Memo, DOE Memo, EPA Notice of DOGE Approval

Requirement, the EPA Executive Order Compliance Review Requirement, agency actions to

block or prevent Plaintiffs from accessing the online portals needed to withdraw their grant

funds, and other agency actions that prevent Plaintiffs from accessing their awarded grant funds,

are arbitrary and capricious for multiple reasons.

   311. First, these agency actions indefinitely froze over $1 trillion appropriated under the IRA

and the IIJA without consideration of the “serious reliance interests” of recipients, including

Plaintiffs, on those funds. Fox Television Stations, 556 U.S. at 515. “Defendants cut the fuel

supply to a vast, complicated, nationwide machine—seemingly without any consideration for the

consequences of that decision. To say that OMB ‘failed to consider an important aspect of the

problem’ would be putting it mildly.” Nat’l Council of Nonprofits, 2025 WL 368852, at *11.

   312. Second, these agency actions rely “on factors which Congress has not intended [them]

to consider.” State Farm, 463 U.S. at 43. Specifically, these actions indefinitely freeze funds

based on the President’s policies, contrary to Congress’s specific directives and purposes for

appropriating funds in the IRA and the IIJA and other federal statutes.

   313. Third, these agency actions indefinitely froze all IRA and IIJA funding, as well as

funding under other federal statutes without a consideration of alternative options. See Regents of

Univ. of Cal., 591 U.S. at 30 (“[W]hen an agency rescinds a prior policy its reasoned analysis

must [also] consider the alternatives that are within the ambit of the existing policy.”).



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      314. For example, Defendants could have engaged in a review of grant funding and how it

relates to President Trump’s priorities without freezing the funds.

      315. The unexplained freeze of all IRA and IIJA funds and freezing of funds under various

other federal statutes epitomizes agency action by “whim and caprice of the bureaucracy,” N. C.

Growers’ Ass’n, 702 F. 3d at 772 (Wilkinson, J., concurring).

      316. The Program Freezing Actions must be vacated as arbitrary and capricious under the

APA. 5 U.S.C. § 706(2)(A).

                                 ––COUNT IV––
                       THE PROGRAM FREEZING ACTIONS
                      ARE NOT IN ACCORDANCE WITH LAW,
                   IN EXCESS OF STATUTORY AUTHORITY, AND
             WITHOUT OBSERVANCE OF PROCEDURE REQUIRED BY LAW
                           IN VIOLATION OF THE APA
                                  (All Plaintiffs 31)

      317. The allegations of the preceding paragraphs are incorporated herein by reference.

      318. The APA requires courts to hold unlawful and set aside agency actions “contrary to

constitutional right, power, privilege, or immunity,” “in excess of statutory jurisdiction, authority,

or limitations,” “not in accordance with law,” or “without observance of procedure required by

law.” 5 U.S.C. § 706(2)(A)–(D).

      319. “Courts”––not the Executive–– “must exercise their independent judgment in deciding

whether an agency has acted within its statutory authority, as the APA requires.” Loper Bright

Enters., 603 U.S. at 412. The APA reflects the judiciary’s constitutional duty “to say what the law

is.” Marbury, 5 U.S. (1 Cranch) at 177.




31
  Baltimore joins this claim only as to agency actions implementing the Energy EO and Cost
Efficiency EO, and agency actions based on EPA’s and USDA’s independent authorities. See
supra footnote 1.


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   320. For five reasons, the Program Freezing Actions are outside of the agencies’ statutory

authority, contrary to law, and without observance of procedure required by law.

   321. First, no federal law or regulation gives the President, OMB, EPA, USDA, DOT, DOE

or DOGE the power to freeze funding appropriated by Congress and obligated by executive

agencies. The Executive Branch has blocked these funds based on President Trump’s policies, as

articulated in the Energy EO, Equity EO, and DOGE EO––policies that are entirely different

than, and in many cases directly conflict with, the directives and purposes specified by Congress

for expending the funds.

   322. By freezing funding based on the President’s priorities rather than “stated statutory

factors,” the “Executive has acted contrary to law and in violation of the APA.” New York, 2025

WL 357368, at *2.

   323. Second, these agency actions are unconstitutional on the grounds set forth in Counts I–II

and V, see supra ¶¶ 288–307, infra, ¶¶ 329–339, and are thus “not in accordance with law” and

“contrary to constitutional right, power, privilege, or immunity” under the APA, 5 U.S.C.

§ 706(2)(A), (B).

   324. Third, these agency actions are contrary to the IRA, the IIJA and other statutes creating

and appropriated money to the programs for which Plaintiffs receive grants. Defendants’ actions

are not in accordance with the statutory requirements to create, fund, and carry out these

programs.

   325. Fourth, these agency actions are contrary to the Impoundment Control Act of 1974.

Defendants have unlawfully delayed the expenditure of funds, resulting in deferrals that are for

impermissible policy reasons and that did not follow the ICA’s requirements for notifying




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Congress of deferrals. The agency actions also represent unlawful rescissions of the funds in

violation of the ICA.

   326. Fifth, these agency actions, which remain in effect, direct a freeze of IRA, IIJA, and

“equity-related” funding that violates agency regulations and the grant agreements that

incorporate these regulations. See, e.g., J.E.C.M. v. Lloyd, 352 F. Supp. 3d 559, 583 (E.D. Va.

2018) (“[W]here an agency’s decision does not comport with governing . . . regulations, that

decision is ‘not in accordance with law’ and must be set aside.”). To the extent subsequent

agency actions have unilaterally frozen specific funding or programs, those freezes are unlawful

for the same reasons.

   327. These agency actions indefinitely freeze IRA, IIJA, and “equity-related” funding

without identifying any permissible grounds for freezing funds, exhausting less drastic remedies,

2 C. F. R. §§ 200.339, 200.208(c), or affording any recipient notice and an opportunity to object.

Id. § 200.342. Both binding regulations and grant agreements require these award-specific

findings and procedures before funding may be suspended.

   328. The Program Freezing Actions, and any other agency action to freeze or block IRA,

IIJA, or “equity-related” funding based on President Trump’s priorities rather than Congress’s

are in excess of the agencies’ statutory authority, unconstitutional, and not in accordance with

law. 5 U.S.C. § 706(2)(A)–(C). These agency actions must be held unlawful and vacated under

the APA. Id. § 706(2).

                                    ––COUNT V ––
                          THE PROGRAM FREEZING ACTIONS
                         VIOLATE THE FIRST AMENDMENT AND
                         ARE NOT IN ACCORDANCE WITH LAW
                              (Community Group Plaintiffs)




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     329. The allegations of the preceding paragraphs are incorporated herein by reference as to

the non-city plaintiffs.

     330. Under the First Amendment, actions by the government targeting speech based on its

subject matter or the viewpoint expressed are presumptively unconstitutional and subject to strict

scrutiny. Rosenberger, 515 U.S. at 828–29. In particular, the government cannot condition

benefits or financial assistance on the suppression of constitutionally protected speech, especially

when such a denial of support is based on the viewpoint or content of the expression. Speiser,

357 U.S. at 518.

     331. In addition, under the APA, courts must “hold unlawful and set aside agency action . . .

found to be . . . contrary to constitutional right, power, privilege, or immunity.” 5 U.S.C.

§ 706(2)(B).

     332. The Second OMB Memo purported to block all disbursements of federal financial

assistance pending a “review” to determine whether they are “consistent with the President’s

Policies,” including those outlined in the Equity EO, which mandates the termination of all

“equity-related grants.”

     333. The Equity EO directs government officials to eliminate “environmental justice” from

government initiatives. Equity EO § 2(b)(i). It further instructs agencies to terminate all grants or

contracts deemed “equity related” within 60 days. Id.

     334. The Second OMB Memo further directs agencies to identify federal funding recipients

that supposedly “advance Marxist equity, transgenderism, and green new deal social engineering

policies.”

     335. While none of these terms are defined, the pejorative descriptions and context make

clear that they are highly disfavored by the Administration.



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      336. The Second OMB Memo targets federal funding recipients who express or advocate for

viewpoints or content disfavored by the Administration, discriminating against these entities for

continued federal funding based on their viewpoint.

      337. Upon information and belief, the Program Freezing Actions identify organizations

based on their viewpoints for purposes of blocking, freezing, or cancelling grant funding.

      338. For example, EPA is using a flowchart to identify which grants to freeze or cancel

based on the presence of certain arbitrary keywords representing viewpoints disfavored by the

Administration in grant applications or other grant materials. This is unconstitutional viewpoint-

based discrimination because it targets grantees like the nonprofit Community Group Plaintiffs

and penalizes them based on their presence of certain words, concepts, and viewpoints in grant

application or other grant materials—even though the words, concepts, and viewpoints were

prioritized by Congress for federal funding, and the grantees were awarded funding on the basis

of their grant materials, expressly to advance these policies that are central to their missions.

      339. The Program Freezing Actions violate the First Amendment by restricting Plaintiffs’

constitutionally protected speech based on its content.

                              ––COUNT VI––
                   THE ENERGY EO, EQUITY EO, DOGE EO,
                     AND PROGRAM FREEZING ACTIONS
        VIOLATE THE IRA AND THE IIJA AND OTHER RELEVANT STATUTES
             NONSTATUTORY REVIEW AND ULTRA VIRES ACTION
                              (All Plaintiffs 32)

      340. The allegations of the preceding paragraphs are incorporated herein by reference.




32
  Baltimore joins this claim only as to the Energy EO, Cost Efficiency EO, agency actions
implementing those two EOs, and agency actions based on EPA’s and USDA’s independent
authorities. See supra footnote 1.


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   341. Congress has enacted the federal grant programs at issue in this case under the IRA,

IIJA, and other relevant statutes and has appropriated over $1 trillion in funding for those

programs to serve enumerated purposes specified in these statutory programs.

   342. Defendants are statutorily required to carry out these congressionally mandated

programs, and to obligate and distribute the funds that Congress appropriated for these programs.

   343. Consistent with their statutory duties, federal agencies obligated these funds to specific

entities via a rigorous, regulated, and competitive grantmaking process.

   344. But in the Energy EO, Equity EO, and DOGE EO President Trump directed that federal

funding be paused or terminated if it was inconsistent with his own policies.

   345. The President’s Executive Orders and the Program Freezing Actions directly contravene

the statutory requirements to carry out and fund the statutory programs under the IRA, IIJA, and

other statutes under which Plaintiffs received grants. See, e.g., 42 U.S.C. § 7438(b)(1) (IRA

“Environmental and Climate Justice Block Grants” program, directing that EPA “shall” award

grants for certain activities “that benefit disadvantaged communities”); IRA, § 22007, 136 Stat.

at 2022 (directing that USDA “shall” award grants for “USDA Assistance and Support for

Underserved Farmers, Ranchers [and] Foresters” and those “determined to have experienced

discrimination . . . in Department of Agriculture farm lending programs”); see also 33 U.S.C.

§ 1302f(c)(4)(A)(2) (IIJA, requiring that EPA “shall” give priority to grant applications

submitted on behalf of “a small, rural, or disadvantaged community”); Section 1001 of the

American Rescue Plan Act of 2001, Technical Assistance Investment Program to support

farmworkers, and Urban Agriculture and Innovative Production Grant to support urban

agriculture efforts in underserved communities.




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                                    PRAYER FOR RELIEF

       For the reasons set forth above, Plaintiffs respectfully request that the Court grant the

following relief:

   A. Issue a declaratory judgment that Sections 2 and 7 of the Unleashing Energy EO that

       direct the freezing or termination of federal grants violate the United States Constitution

       and are therefore void;

   B. Issue a declaratory judgment that Section 2(b) of the Equity EO that directs the

       termination of “equity-related” grants or contracts violates the United States Constitution;

   C. Issue a declaratory judgment that Section 3(b) of the DOGE EO that directs the

       termination or modification of grants to advance the policies of the Trump Administration

       violates the United States Constitution;

   D. Issue a declaratory judgment that executive actions taken to freeze or terminate awarded

       federal grants under the Community Change Grants program; the Environmental Justice

       Collaborative Problem Solving Program; the Environmental Justice Government-to-

       Government Program; the Partnerships for Climate-Smart Commodities program; the

       Conservation Stewardship Program; the Equity in Conservation Outreach Cooperative

       Agreements program; the Conservation Technical Assistance Program; the Increasing

       Land, Capital and Market Access Program; the Rural Development Policy Cooperative

       Agreement program; the American Rescue Plan Technical Assistance Investment

       Program; the Climate Pollution Reduction Grants program; the Urban and Community

       Forestry Grant Program; the Distressed Borrower Assistance Network Cooperative

       Agreement Program; the Solid Waste Infrastructure for Recycling Grant Program; the

       Innovative Nutrient and Sediment Reduction Grant Program; the Charging and Fueling



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    Infrastructure Program Grants; the Active Transportation Infrastructure Investment Grant

    Program; the Farm and Food Workers Grant Relief Program; Assistance for Latest and

    Zero Building Energy Code Adoption; and the Office of Urban Agriculture and

    Innovative Production Grants program, violate the United States Constitution, the

    statutory provisions enacting and appropriating funds to these programs, and the APA;

 E. Pursuant to 5 U.S.C. § 706, hold unlawful and set aside any actions taken by OMB, EPA,

    USDA, DOT, or DOGE to freeze or terminate federal grants under the Community

    Change Grants program; the Environmental Justice Collaborative Problem Solving

    Program; the Environmental Justice Government-to-Government Program; the

    Partnerships for Climate-Smart Commodities program; the Conservation Stewardship

    Program; the Equity in Conservation Outreach Cooperative Agreements program; the

    Conservation Technical Assistance Program; the Increasing Land, Capital and Market

    Access Program; the Rural Development Policy Cooperative Agreement program; the

    American Rescue Plan Technical Assistance Investment Program; the Climate Pollution

    Reduction Grants program; the Urban and Community Forestry Grant Program; the

    Distressed Borrower Assistance Network Cooperative Agreement Program; the Solid

    Waste Infrastructure for Recycling Grant Program; the Innovative Nutrient and Sediment

    Reduction Grant Program; the Charging and Fueling Infrastructure Program Grants;

    Assistance for Latest and Zero Building Energy Code Adoption; Active Transportation

    Infrastructure Investment Grant Program; the Farm and Food Workers Grant Relief

    Program; and the Office of Urban Agriculture and Innovative Production Grants program;

 F. Preliminarily and permanently enjoin Defendants from continuing to freeze or

    terminating grants or effectuating any termination under the Community Change Grants



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    program; the Environmental Justice Collaborative Problem Solving Program; the

    Environmental Justice Government-to-Government Program; the Partnerships for

    Climate-Smart Commodities program; the Conservation Stewardship Program; the

    Equity in Conservation Outreach Cooperative Agreements program; the Conservation

    Technical Assistance Program; the Increasing Land, Capital and Market Access Program;

    the Rural Development Policy Cooperative Agreement program; the American Rescue

    Plan Technical Assistance Investment Program; the Climate Pollution Reduction Grants

    program; the Urban and Community Forestry Grant Program; the Distressed Borrower

    Assistance Network Cooperative Agreement Program; the Solid Waste Infrastructure for

    Recycling Grant Program; the Innovative Nutrient and Sediment Reduction Grant

    Program; the Charging and Fueling Infrastructure Program Grants; the Active

    Transportation Infrastructure Investment Grant Program; the Farm and Food Workers

    Grant Relief Program; Assistance for Latest and Zero Building Energy Code Adoption;

    and the Office of Urban Agriculture and Innovative Production Grants program;

 G. Prohibit Defendants from otherwise impeding, blocking, cancelling, or terminating

    Plaintiffs’ access to their funds awarded under such program(s);

 H. Require Defendants to make grant program managers available to Plaintiffs to assist with

    the administration of grant funds, and require that grant program managers respond to

    questions from grantees in a timely manner;

 I. Provide Plaintiffs and the Court with weekly status updates regarding grant

    disbursements and grant program administration;

 J. Retain jurisdiction over this matter to ensure compliance with the above relief;




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 K. Award Plaintiffs their reasonable fees, costs, and expenses, including attorneys’ fees,

    pursuant to 28 U.S.C. § 2412; and

 L. Grant such other relief as this Court deems just and proper.

            Respectfully submitted this 26th day of March 2025.

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                                 CERTIFICATE OF SERVICE
I certify that on March 26, 2025, I electronically filed the foregoing with the Clerk of the Court
by using the Court's CM/ECF system:


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